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 1                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
 2
          United States of America,    )
 3        et al.,                      )
                                       ) DAY 32
 4                         Plaintiffs, )
                                       ) CV No. 20-3010
 5                                 vs. ) Washington, D.C.
                                       ) November 1, 2023
 6        Google, LLC                  ) 9:30 a.m.
                                       )
 7                          Defendant. )
          _____________________________)
 8

 9                            TRANSCRIPT OF BENCH TRIAL
                          BEFORE THE HONORABLE AMIT P. MEHTA
10                           UNITED STATES DISTRICT JUDGE

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 1       *   *   *   *    *   *   *P R O C E E D I N G S*         *   *   *    *   *    *

 2                       THE COURTROOM DEPUTY:      Good morning, Your Honor.

 3        This is civil action 20-3010, United States of America, et al.

 4        versus Google LLC.         Kenneth Dintzer for the DoJ.             William

 5        Cavanaugh on behalf of plaintiff states.                John Schmidtlein on

 6        behalf of Google.

 7                       THE COURT:    All right.    Good morning, everyone.

 8        Sorry for the late start.         Our morning hearing started later

 9        than expected.

10                       All right.    So, just before we begin, let me just ask

11        if we've resolved where things stand with the video depositions

12        in terms of playing them this afternoon or later this morning?

13                       MR. SCHMIDTLEIN:      Good morning, Your Honor.           John

14        Schmidtlein.

15                       As to the Mitchell Baker video, that one is at least

16        cleared, and all of the designated excerpts are going to be

17        fully, you know, played.

18                       With respect to Mr. Christensen's deposition, there

19        are three portions, and it's really just three words -- or, one

20        word or words in three different segments involving two subject

21        matters, because one of them repeats itself, where Motorola has

22        requested that we essentially mute the word that the witness

23        speaks --

24                       THE COURT:    Okay.

25                       MR. SCHMIDTLEIN:      -- because one of them involves a
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 1        product that had not been released.         So, it's almost like a

 2        future product reference.

 3                    The other involved a question about the amount of

 4        revenue share payments made to Motorola in, I believe, at the

 5        time of the deposition -- the year of the deposition, which, I

 6        believe, is April 2021.     So it is under the current deal, if

 7        you will.   So it's a really, really, vary narrow, targeted

 8        couple of little places.

 9                    I have clipped reports for everything that's going to

10        be played today.    And I have, I think, on at least one of

11        these, tried to place stickies so Your Honor can see exactly.

12        And we have red boxed around the transcript places, as if this

13        was a redacted document that we've been using on the screen, so

14        you can see exactly what's been proposed.            So, I'm happy to

15        hand those up to you --

16                    THE COURT:   Sure.     I'll take a look at those.

17                    MR. SCHMIDTLEIN:     -- so you can take a look at those.

18        And, you know, we certainly -- we defer to Motorola on the

19        product envision point.     And we obviously join Motorola with

20        respect to the amount of the revenue share payment that is made

21        pursuant to the Google agreement.

22                    THE COURT:   Okay.

23                    MR. SCHMIDTLEIN:     That's where we are on the two

24        depositions.

25                    THE COURT:   Okay.     Terrific.    Thank you.     All right.
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 1                   Let me -- before we get started, let me see if

 2        anybody would like to be heard about the request to,

 3        essentially, mute out a couple of these lines.

 4                   Anything from the plaintiffs?

 5                   Ms. Nylen, I believe it is, correct?

 6                   Should I admit you pro hac vice?

 7                   MS. NYLEN:    Leah Nylen.     L-E-A-H, Nylen, N-Y-L-E-N.

 8        I am a reporter with Bloomberg News, not a lawyer.            I'm

 9        supposed to say that.     Mr. Seymour was unable to come this

10        morning, so I just have a brief statement.

11                   We would respectfully protest the closure of this

12        proceeding.   The U.S. Supreme Court as ruled that First

13        Amendment forbids exclusion of the public from trial

14        proceedings without findings of fact identifying an overriding

15        interest to be protected and the necessity of closure to

16        protect that interest.

17                   Courts have ruled that openness is a constitutional

18        consumption, and more than speculation or conclusory assertion

19        of harm is required to justify closure.

20                   To the extent that Your Honor determines closure is

21        required, we respectfully request that the closed session be as

22        focused and short as possible.

23                   Thank you.

24                   THE COURT:    All right.    Thank you.

25                   Okay.    So in consideration of the Hubbard factors, I
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 1        will allow the depositions to be played, with the limited

 2        portions that have been requested by Motorola and Google to be

 3        redacted from the public playing of the video depositions.          The

 4        courtroom will not need to be closed for the playing of those

 5        video depositions; rather, the words that are requested to be

 6        essentially placed under seal will be -- those words will be

 7        muted, so it's not as if we're going to have to close the

 8        courtroom for those.

 9                   In terms of the specific requests, I'm looking at the

10        deposition right now, and as Mr. Schmidtlein has described it,

11        the two areas of the two sets of words that have been requested

12        to be muted for -- in the video deposition of, one, a word of a

13        product that has been represented Motorola did not launch,

14        which is not a matter of public record, arguably falls within

15        the category of trade secrets, and, gen, it is a third-party

16        piece of information that is proprietary information of a third

17        party.   That third-party's interest here is greater than that

18        of a party.

19                   Notwithstanding the public's interest in an open

20        proceeding and a public record, I think Motorola's interest in

21        ensuring the privacy of its not-publicly-launched product

22        outweighs the public's interest in learning of the name of that

23        product.   And frankly, the name of the product is of marginal

24        relevance to the Court's consideration of the issues here.

25                   With respect to the actual revshare, we have
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 1        consistently been not making a part of the public record the

 2        actual dollars that have been paid as part of any particular

 3        revshare agreement, particularly the current revshare

 4        agreements.   The revshare agreement that has been described

 5        with Motorola is the current revshare agreement, and the number

 6        of -- the dollar number that Google is paying is a nonpublic

 7        piece of information.

 8                   Although there is public interest in that information

 9        in the context of the trial and arguably has some relevance of

10        the Court's consideration of the issues, I do think there would

11        be prejudice to both sides in terms of public disclosure of the

12        number in terms of how it would impact both future negotiations

13        and the parties' negotiations to -- with respect to third

14        parties.

15                   Now, that said, we can talk about this now or a

16        little bit later.     We ought to probably come up with some way

17        to come up with a ballpark description of what the number is

18        without providing the precise number, whether we call it -- I

19        think it's safe to say tens of millions of dollars.             That, I

20        think, is a -- gives the public enough information and,

21        frankly, won't come as a surprise to anybody, and still, I

22        think, protects the parties' interest in ensuring that that

23        number remains private and doesn't disadvantage either party.

24        Okay.

25                   So, if there's some further tweaking of that, we can
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 1        talk about it, but I think at this point, it's fair to say that

 2        that number is tens of millions of dollars.               And it's only

 3        referenced once in the deposition transcript of

 4        Mr. Christiansen.       Okay.

 5                   All right.      Mr. Dintzer:

 6                   MR. DINTZER:         We have a -- separate from the

 7        testimony today, a confidentiality issue regarding Apple.

 8                   THE COURT:      Is it going to be relevant to the

 9        upcoming witness?

10                   MR. DINTZER:         No.   So if the Court would prefer to

11        hear it later, then that would be fine.

12                   THE COURT:      Can you preview for me what you're

13        talking about?      I don't know if this is something I need to

14        deal with today -- I mean, at this moment, I should say.

15                   MR. HERRMANN:        Good morning, Your Honor.         Karl

16        Herrmann for the United States.           K-A-R-L, H-E-R-R-M-A-N-N.

17        It's to do with Apple, over whether we can disclose the date of

18        the 2016 ISA, the month and the day.             Under this Court's order,

19        ECF No. 750, we're required to disclose that to press requests,

20        and the press has made a request.            Apple believes it's

21        confidential.       We do not believe it's so.

22                   THE COURT:      So this is the starting date of that?

23                   MR. HERRMANN:        The execution date of that.

24                   THE COURT:      The execution date.          Okay.   This is the

25        2016 agreement?
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 1                     MR. HERRMANN:    Yes, Your Honor.

 2                     THE COURT:    Okay.     Counsel for Apple here?

 3                     MS. YORK:    Yes, yes.     Good morning, Your Honor.

 4        Julia York for Apple.       Your Honor, we believe that the

 5        execution date itself is confidential information.               It has not

 6        been disclosed thus far in the proceedings.              This is not

 7        information that's going to be used with this witness, or that

 8        the government has sought to introduce with any witness.               It's

 9        simply in the status report.         And Apple's view is that knowing

10        the precise date would reveal information to other

11        counterparties about the cadence of when those agreements are

12        entered into and could disadvantage Apple in future

13        negotiations.       So, again --

14                     THE COURT:    Can I ask how that's so with respect to

15        the 2016 agreement, especially since we know it's no longer the

16        operative agreement?

17                     MS. YORK:    Well, without revealing much about the

18        later agreements --

19                     THE COURT:    We do know that a later agreement became

20        operative.    I think that's a matter of public record now,

21        correct, in 2021?

22                     MR. SCHMIDTLEIN:      That's correct, Your Honor.

23                     MS. YORK:    Correct.    But the precise time of year,

24        the precise month and date of the negotiation is -- sorry --

25        the execution date is not public information, and that's what
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 1        the concern is, is that having that information, knowing when

 2        it's coming up, the potential, you know, date when a new

 3        agreement might eventually be entered into is what the concern

 4        is.

 5                    THE COURT:   Okay.

 6                    MR. HERRMANN:    Briefly, Your Honor.         This exhibit was

 7        used in court with witness Edward Cue.

 8                    MS. YORK:    Yes.   But the date has been redacted

 9        consistently.

10                    THE COURT:   Right.     Okay.    All right.

11                    Mr. Schmidtlein, do you want to be heard?            Do you

12        have a position?

13                    MR. SCHMIDTLEIN:       No, Your Honor.

14                    THE COURT:   Okay.     I'm going to order that portion of

15        the exhibit to be publicly disclosed, that is, the execution

16        date of the 2016 agreement.        I don't see the actual harm to

17        Apple, at least as it's been articulated, particularly since it

18        is the -- an agreement that is no longer in effect.              There is a

19        new agreement in effect in 2021.

20                    The term of that new agreement has not been made

21        public because I do think -- it's not been made public.               And,

22        so, the disclosure of the actual execution date of the

23        now-inoperative agreement doesn't seem to me to create any real

24        concern of prejudice or disadvantage to Apple.             Notably, Google

25        also is not objecting to its release.          So, I will request that
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 1        that -- authorize that that portion of that exhibit be made

 2        available to the press as has been requested.             Okay.

 3                    All right.   And thank you, Counsel, for appearing

 4        this morning.

 5                    We have just one last piece of business, and I don't

 6        want to talk about it now, but there was a motion filed last

 7        night by Farmers Group, and I don't know when that witness is

 8        likely to testify.     Is it tomorrow?

 9                    MR. SCHMIDTLEIN:       That -- I'm happy to report that

10        that issue has been resolved.

11                    THE COURT:   Okay.

12                    MR. SCHMIDTLEIN:       That was going to be with Professor

13        Israel, we have worked out, so we're not going to reveal that

14        information at all during his testimony.             So you can ignore

15        that motion.

16                    THE COURT:   Okay.     That's good to hear.

17                    Okay.   Anything else preliminarily?

18                    (No response.)

19                    THE COURT:   Perfect.

20                    All right.   Let's hear from our next witness.

21                    MR. SMURZYNSKI:    Good morning, Your Honor.          Ken

22        Smurzynski for Google.      Google calls as its next witness

23        Elizabeth Reid.

24                                  ELIZABETH REID,

25        was called as a witness and, having been first duly sworn, was
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 1        examined and testified as follows:

 2                    THE COURT:    Ms. Reid, welcome.

 3                    THE WITNESS:    Thank you.

 4                    THE COURT:    Counsel, wherever you're ready.

 5                    MR. SMURZYNSKI:    Thank you, Your Honor.

 6                                 DIRECT EXAMINATION

 7        MR. SMURZYNSKI:

 8        Q.   Good morning.    Please state and spell your name for the

 9        court reporter.

10        A.   Elizabeth Reid.     E-L-I-Z-A-B-E-T-H, R-E-I-D.

11        Q.   What is your educational background after high school?

12        A.   I have a bachelor of arts in computer science from

13        Dartmouth College.

14        Q.   Where do you work?

15        A.   I work at Google.

16        Q.   What is your current position?

17        A.   I'm a VP of Search.

18        Q.   To whom do you report?

19        A.   I report to Prabhakar.

20        Q.   Is that Prabhakar Raghavan?

21        A.   That's correct.

22        Q.   And when did you take on your current role at Google?

23        A.   In April 2021.

24        Q.   And what team do you head at Google?

25        A.   I head a team called Search Journeys, which is responsible
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 1        for building out our core search experience.           Basically, if you

 2        go to Google, you type in a query, you get back a results page,

 3        it is that experience.

 4        Q.   When did you graduate from Dartmouth?

 5        A.   In 2003.

 6        Q.   What was your first job after Dartmouth?

 7        A.   My first job after Dartmouth was at Google.

 8        Q.   I would like to briefly walk you through your roles at

 9        Google beginning from 2003 through today.

10                When you started, what was your job?

11        A.   I was a software engineer on the beginnings of a project

12        around local in the Search team.

13                     THE COURT:   Did you say local?

14                     THE WITNESS:   Yes.

15        MR. SMURZYNSKI:

16        Q.   When you say "local," what do you mean by that?

17        A.   So, we're working on local search and really trying to help

18        people find information about places.

19        Q.   Okay.   And as you advanced through Google, what were your

20        further roles?

21        A.   So, I then continued to work on local for a few years.             I

22        was the tech lead of the maps front end, sort of the experience

23        around Google Maps on the desktop for few years.            I started

24        managing some of the teams around local and maps, eventually

25        becoming an engineering director there.
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 1                    I then took on, over the next few years, additional

 2        teams around maps and local, eventually becoming the VP of geo

 3        engineering.     So, all of the teams for the maps, for local

 4        driving direction space.      And then in April 2021, I switched

 5        into Search.

 6        Q.   And why, at Google, are the maps and local and geo put

 7        together in one component?

 8        A.   So, at the time, the goal -- if you go back to our mission

 9        where we talk about organize the world's information, this was

10        really the real world information.        So, all of the

11        understanding about how, in the real world, people did.              And

12        the connection between maps and local is pretty close.               You

13        have an underlying understanding of the world.            You need to put

14        the places for where they go.       And so that it was helpful at

15        the time to have those two connected.

16        Q.   Ms. Reid, the plaintiffs in this case have alleged that

17        Google is a monopolist in the general search market, claiming

18        that Google only competes with other general search engines.

19        Do you agree with that statement?

20        A.   I do not.

21        Q.   Why not?

22        A.   I think, at the end of the day, we compete with other

23        people who surface information needs.         Really, what a user has

24        is not a query.     They have a desire to learn about something,

25        and they can use any number of tools, not just general search
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 1        engines to do that.     They can use vertical search engines.

 2        They can use social media.         They can talk with their friends.

 3        They can use particular apps.        And we compete with all of

 4        those.

 5                    Especially in today's world, people have lots of

 6        different apps.     And they can pick different choices for every

 7        single need, and they often do use a variety of tools, not a

 8        single one.

 9        Q.   Does Google study consumers' information needs?

10        A.   It does, extensively.

11        Q.   How does it go about doing that?

12        A.   Most of it is done with UX research, user experience

13        research.    So, we'll do studies with people in the world about

14        how they do it.     This can be surveys, and we ask them:             The

15        last time you had to do a particular task, what were the tools

16        you used?    We can do diary studies in which people record every

17        day what are the different questions they had and where they

18        went to seek it out.     We can watch people come and be given a

19        question:    If you needed to do this, you need to pick a

20        restaurant tonight, what would you go do? and watch how they

21        use their app.

22                    So we use a variety of ones in which we invite

23        participants, pay them some money for their time, and then

24        really learn just how do they use different products to solve

25        information needs.
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 1        Q.   And you touched on this with queries, but how do you

 2        differentiate a query from an information need?

 3        A.   Sure.   So, I think an information need is really about a

 4        user's intent and the problem they have.            Right?   They want to

 5        learn about something.      They want to understand the definition.

 6        They want to find the plumber that they can call.            They want to

 7        learn about a medical diagnosis they had.           That's their need,

 8        and then they use different tools to try and get that need

 9        answered.

10                     And, so, a search query is a way of using the Google

11        Search as one of those tools.       It's pretty different from the

12        actual information need in a variety of ways.            First of all,

13        you can have information needs not used by search engines.            You

14        can go direct to Amazon if you had a question about buying

15        something, for instance.

16                     But, also, the query is usually an approximation of

17        their information need.      You might have stripped words.

18        Instead of saying:     Where do I buy such and such and such?         You

19        just say, such and such, right?        So people try and get the tool

20        to answer their information need, but the need is the problem

21        you have, and the query is your use of the tool.

22        Q.   Who do you view as Google's competitors in search today?

23        A.   Oh, lots of them.    So there's the general search engines,

24        ones like Bing and DuckDuckGo.       Social media, particularly

25        Instagram and TikTok are some of the ones.           Apple, I view, as a
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 1        competitor in the space.      There's a lot of vertical search

 2        sites and apps that are particularly relevant for ones; Amazon,

 3        for shopping, is an obvious one.        But, for food, you can get

 4        things like DoorDash and OpenTable, as well as Yelp,

 5        Tripadvisor.    So all of them are different ways that people

 6        come and get it.

 7                    There's also messaging apps.        Particularly in India,

 8        people will go ask on WhatsApp where they are.            With new

 9        technologies like ChatGPT, people will go there for their

10        information needs, so huge.

11        Q.   I think you mentioned some social media platforms in your

12        answer.   How have those social media platforms changed the way

13        that Google looks at the competitive landscape?

14        A.   So there's two ways social media can play a role.               The

15        first is that people sometimes -- you know, didn't immediately,

16        in their head, just wake up and decide they wanted to buy

17        something, but they see something when they're browsing, right,

18        when they're looking at their feeds.         So you see this great ad

19        for shoes and you decide you're going to go buy the shoes and

20        you buy it directly on that platform, instead of waiting

21        another week or two, until you went to go search for shoes,

22        right?    So, you can be inspired.      And, so, that's one set of

23        information needs that get answered, even without any search.

24                    The second thing is we are increasingly seeing

25        people, especially our younger users, will go and use,
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 1        actually, the search boxes on Instagram and TikTok.             So, we

 2        have a lot of research that says that's happening increasingly.

 3        They're already on TikTok, they think of something or they see

 4        something on TikTok, and then they go issue the query in

 5        TikTok, and they really like the response of that.             So that has

 6        really changed it, both from these laid-back information needs,

 7        as well as, now, for more high-intent queries.

 8        Q.   I'm going to pass out some exhibits at this point.

 9                Ms. Reid, if you would turn to Exhibit DX241.            That's in

10        that binder in front of you.

11                And this is a document that's already in evidence.

12                Start with the front of this.        Do you recognize this

13        document?

14        A.   I do.

15        Q.   What is it?

16        A.   This was a presentation to the Alphabet board that Pandu

17        Nayak and I gave, giving them an update on how search is doing

18        and how we're approaching the space.

19        Q.   And you said the "Alphabet board."

20                How does Alphabet relate to Google?

21        A.   So, Alphabet is the parent company that includes Google.

22        It also includes others, as well.

23        Q.   And what was the overall purpose of the presentation?

24        A.   Search, like other areas in Google, are really important

25        areas to the company, and, so, the board wanted to have an
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 1        update on what's going on in search, what are the key things

 2        we're working on, what are the trends we're seeing, how are we

 3        thinking about the space.

 4        Q.   All right.     If you could please turn to the page that ends

 5        in 010.     There are some numbers in the center of the bottom of

 6        the page.    It's also up on the screen.

 7        A.   010?

 8        Q.   010, yes.      And there's a reference up at the top:            Today,

 9        most inspiration and discovery happens off Google, especially

10        for Gen Z.

11                  Let's just pause for a second.

12                  What is "Gen Z"?

13        A.   Gen Z refers to a set of people in an age group.             It's

14        roughly 13- to 24-year-olds right now.           But, obviously, as they

15        age it will change, and then there will be the next one, just

16        like you talk about Gen Y or the Millennium generation.

17        Q.   Focusing first on the top portion of the slide.

18                  What were you communicating to the board of directors

19        there?

20        A.   We were showing that using shopping, as an example,

21        different types of information needs people have, depending on

22        where they are in their information journey, and the level of

23        competition and who are some of our competitors at the

24        different stages.

25        Q.   Okay.    And who were -- what were you seeing in terms of the
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 1        competitors to Google and satisfying the information needs at

 2        different points in the search journey?

 3        A.    So, I would say there's a few things.         One, there's quite a

 4        big breadth of competitors, and they're not all even search

 5        apps or vertical apps.      Right?

 6                     The second is that at inspiration and discover, these

 7        really early Stage 1s, where there's, sort of, most choice, a

 8        lot of that was happening with Gen Z outside of Google.

 9        Q.    And then if you go to the bottom, to the Speaker Notes.

10        Can you just read the last sentence in those Speaker Notes?

11        A.    Yes.   "63 percent of daily TikTok users age 18 to 24 stated

12        that they use TikTok as a search engine in the last week."

13        Q.    And how did you come to know that and be able to present

14        that to the board?

15        A.    So, the UXR team has done a large study, I think by

16        surveys, asking our -- people age 18 to 24 who use TikTok --

17        these were the folks who were using TikTok -- how had they used

18        it?   And by search engine, we were differentiating between

19        answering an information need by browsing versus I actually

20        used the search box on TikTok with a specific intent.

21                     And, so, even with that latter use case, this was

22        saying that 63 percent -- which is a very high percent -- were

23        using it as a search engine.

24        Q.    And why did you think that was something important enough

25        to let the board of directors know?
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 1        A.   I think a lot of people, even more familiar with TikTok,

 2        thought that the competition and information needs was purely

 3        confined to the feed use, and that the search box on TikTok,

 4        nobody used that.     That's a rare case.       And there's actually

 5        quite a big gap between how younger users use TikTok versus

 6        older users.    And, so, we really wanted to help them understand

 7        that even for high intent, which is something Google had

 8        previously been really focused on, people were starting to use

 9        TikTok.

10        Q.   I think you used the phrase there "high intent."

11                  What did you mean by that?

12        A.   So, the question is how specific -- like, do you know that

13        you need something versus were you inspired?           So, if I'm

14        reading an article and I see a word that intrigues me, ah ha,

15        okay, then, you know, I just learned about it on the one,

16        versus I came and I had a very specific purpose, I wanted to

17        look something up, I wanted to learn.

18                     So, the more that I know that this is the thing that

19        I need to get, as opposed to sort of I read it passively.

20        Like, I'm watching the game and I see a new score, right?

21        That's answering an information need, what's the score.              But,

22        that's less intent, versus I type something in is a high-intent

23        query.

24        Q.   All right.     If you could turn to the next page.         What were

25        you communicating here to the board of directors?
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 1        A.   So, one of the things that happened as a result of our

 2        studies with UXR was to understand how people's behavior and

 3        preference was changing, especially younger people.              And, so,

 4        we saw both -- we tried to understand both what are the trends

 5        and why are the behaviors different?         So, you could speculate

 6        that the difference was because they're younger users, and, so,

 7        they have different needs because they're in college and

 8        they're not trying to get a mortgage, right?            You could say,

 9        okay, it's because we were born in this year, or you could say

10        what you bought was lasting.

11                     And, so, what we found was that a set of the trends

12        we thought were not based on their age.             We thought it was

13        really just different behavior that was going to continue

14        through.    Behavior that youth adopt that isn't just based on

15        their time in life tends to actually propagate to older users

16        over time.    So they are the early adopters on that.            And, so,

17        we were seeing both they had very different behavior, but,

18        also, that that was likely to influence how people older than

19        25 would actually start to use technology in the coming years.

20                     And there were a few areas that we thought were

21        particularly important.      One was this -- what we call human,

22        which was this desire to really hear from other people that

23        they trusted and related, right?        There's much more of this

24        desire from younger users to hear from someone that they view

25        as having had that lived experience.
     Case 1:20-cv-03010-APM    Document 989    Filed 06/24/24   Page 23 of 137   8208


 1                     They don't want just here's this site posted that

 2        talks about this travel place.         They want to go talk to

 3        somebody, hear from somebody who went and visited and used

 4        their camera phone to take a video of what it was, not just

 5        that they write up, because they have suspicion about some of

 6        the sites on the web as to whether people were paid; is it

 7        really what the lived experience is?

 8                     So, that desire to hear much more just authentic,

 9        like you would talk with a friend that you trusted, was really

10        rising.    One of the things that has made TikTok really

11        successful.

12        Q.     What is the -- the next item there?

13        A.     The next one, Parsable.       So younger users grew up with the

14        idea that they often saw images very heavily.              They can scan

15        images very, very quickly.          You know, we would always talk

16        about a picture is worth a thousand words.             So they expected to

17        see things that were very visual so they could get a quick

18        sense of whether they wanted it.          They wanted it to be

19        bite-sized.    They didn't care -- more impatient in some sense,

20        right?    Like, we all care about time.         They're, like, I don't

21        want to read a long, long thing if you can give me a very short

22        summary.    Right?    Their attention span is shorter, so they

23        really want bite-sized bits of information, rather than a long

24        one.    And, so, we had to think of all that in terms of how we

25        convey information.
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 1                     And then they also grew up on an app ecosystem.

 2        These users didn't actually grow up first using a desktop

 3        browser for a long time.      They grew up with their first

 4        experience on the phone with a bunch of apps that could be on

 5        their home screen so that it was easy for them to go say, I'm

 6        going to use this app for this, or this app for this, or this

 7        app, as opposed to going to the same starting place, and that

 8        changed how we comp -- apps also have a set of features that

 9        are different than browsers that the younger users were used to

10        expecting.

11        Q.   And so you've described an environment for the board.           Did

12        you describe to the board, as well, an action plan?

13        A.   Yes.

14        Q.   And if you could move forward to slide 12.           And then let's

15        go on to 13, as well.

16                 And let's focus on 13.

17        A.   Yep.

18        Q.   What is -- what is this that you're communicating to the

19        board?

20        A.   Yeah.   So as we showed in the previous one, these were

21        trends that we thought were really important to younger users,

22        in terms of their expectations, and they were areas that search

23        needed to improve on.     Right?    And, so, this was talking about

24        four of the ways that we really wanted to evolve and innovate

25        to address these new behaviors and preferences that users had.
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 1                    One was around, you know, how do you both make

 2        content creation on the open web easier and help foster that,

 3        and surface that information much more effectively.              How do we

 4        change how the experience feels, to feel much more visual?                How

 5        do we really think about some of the use cases, especially

 6        education, was one that we have focused a bunch on.              And then

 7        how do we really build out the Google app experiences,

 8        particularly on iOS, so that you can make use of what the app

 9        provides -- the app environment provides and not just have a

10        browser experience stuck on a phone.

11        Q.   Is Google's competitor in these sorts of activities someone

12        like Bing or something else?

13        A.   So, in a lot of this, I would say TikTok and Instagram are

14        more of the competitors, although I think Bing will also likely

15        notice some of these patterns.        On the iOS you can view the

16        competitors, both apps like this, but to some degree, Apple,

17        itself, in terms of how it answers information needs outside of

18        Google.

19        Q.   All right.      I would like to shift gears and talk to you

20        about some of the innovation that Google has done noticing

21        these trends.       And we have a set of demonstratives.         Let me

22        pass those out.

23                    MR. SMURZYNSKI:     May I approach?

24        BY MR. SMURZYASKI:

25        Q.   Ms. Reid, what is Google Lens?
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 1        A.   Google Lens is a feature within search that enables a user

 2        to search via an image or via an image plus text, rather than

 3        just having to type into a text box.

 4        Q.   When was Google Lens first launched?

 5        A.   About six years ago.

 6        Q.   And have there been improvements that have continued within

 7        Google Lens since it's initial launch?

 8        A.   Yeah.   So, there has been, first of all, the underlying

 9        quality, just how much do we understand what the image is about

10        and can return one has seen quite a lot of growth.              We've also

11        built out different features.       Initially, all you could get was

12        an image and text.     Now we can actually do things, like better

13        homework or translation help.       We add the ability to not just

14        search by image, but add textual words.             That's in about the

15        last year.    Initially, all you could do was add an image.           So

16        it's really evolved substantially.

17        Q.   All right.     Let's look at some visuals, since this is

18        obviously a very visual product.        In the demonstrative deck,

19        DXD28, start with slide 002.       It will be on the screen.

20                What's being illustrated here?

21        A.   This is a use of Google Lens to understand this file art

22        that -- you know, hydrangea.       It would be extremely difficult

23        to figure out how to express this with words, even if you tried

24        to do "small, tiny white flower in a cluster."             Like, first of

25        all, it's not usually how people talk about hydrangea on the
     Case 1:20-cv-03010-APM   Document 989    Filed 06/24/24   Page 27 of 137       8212


 1        web, but, also, it refers to lots of other flowers.              Right?

 2                     But, we can take an image and then understand this is

 3        hydrangea.    Here's a few different types of hydrangea it may

 4        be.   And then you can learn about them and understand how do

 5        you take care of them?      Is this actually a plant you can grow

 6        in your area, or is it going to be too much work for you or

 7        it's not the right environment?

 8                     And, so, I think this is a great example of an

 9        information need that sort of always existed.             You know, I have

10        certainly had -- my kids would ask me, what is this plant next

11        door?   And, you know, on -- and I'm, like, I don't know, and

12        then you would move on.      Right?     But, then you ask this, and

13        now my kids will go and say, well, get out your phone.                Right?

14        And, so, you can actually just explore the world a lot more as

15        the technology adds new capabilities like this.

16        Q.    Just to be clear, on the left side of the screen there is,

17        sort of, four white shapes around something.            Is that -- what

18        is that that's being -- I'm not going to ask you to identify

19        the flower.

20        A.    No.   That's okay.   It's hydrangea.

21        Q.    But, what does that show?

22        A.    It's showing a part of the image that's focusing on

23        answering on it, and then it gives you an option to pick a

24        different picture.     Right?      Right now this picture is all about

25        hydrangea, but you might have taken a picture of a room in
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 28 of 137      8213


 1        which you wanted to focus on the chair or you wanted to focus

 2        on the table, and so you can go and select which is the part of

 3        the picture that you were actually querying.            There's multiple

 4        different options to learn about, right?

 5        Q.   Right.

 6                      THE COURT:   How does one access Google Lens?           Is it a

 7        separate app?       Is it something that's available in Google

 8        Search?

 9                      THE WITNESS:   So if you open up Google Search, there

10        is the text box, and then there's as little camera icon to the

11        right of it, and if you press the camera icon, then it opens up

12        and then you can either use your camera directly or you can use

13        a screenshot.       So, the use is heavily for both, people doing

14        cameras in the real world, but they also took a screenshot

15        elsewhere on their phone or someone sent them a photo and they

16        can query.     So it's directly across Google Search.

17        MR. SMURZYNSKI:

18        Q.   And that Google app is something available on Android and

19        Apple devices?

20        A.   Yes.

21                      MR. SMURZYNSKI:   A little product pitch in here, Your

22        Honor.

23        MR. SMURZYNSKI:

24        Q.   Ms. Reid, if you could look at the next slide.             I think you

25        mentioned translate.       So let's look at this slide and then
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24    Page 29 of 137          8214


 1        advance to the next slide.

 2                  What's going on there?

 3        A.   Right.    So in this case we are trying to understand what

 4        the image is about and realize that what the user wants is the

 5        text on it, on this one.      In the previous one, not the one

 6        where you actually showed that.

 7                      If I were traveling and I saw this sign, I would have

 8        no idea what to do without Google Lens.             I have no idea how to

 9        even access the keyboard that does that.            It would have taken

10        me hours to try and figure out how to type in the right

11        characters.     I would most likely have picked the wrong

12        characters to type it in, and I would not realize that I can

13        still go here with a bicycle or if I'm walking.

14                      And, so, you know, this one is of a street sign.

15        But, a great example is a menu.        If you're traveling and you

16        have dietary restrictions and you have a menu in Japanese,

17        which of these dishes can you actually order?             Right?      They

18        might have a picture, but you don't know what's in them.                So it

19        really enables people to get key information needs when

20        traveling or when just dealing with information in a different

21        language that's difficult to type in.

22        Q.   Let's advance the slide, please, Allen.

23                  What is being illustrated here?

24        A.   So, being here is one example of what we call multi-modal

25        search.    So, the ability to issue a query not just with images
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 30 of 137    8215


 1        or text, but across different modes.          In this particular one,

 2        the user added "near me."       And, so, what it says is not just,

 3        okay, here's what this image is, but help me find where I can

 4        actually get pad thai around.        Right?    What are the different

 5        restaurants?

 6                     But, you could have asked other questions.           You could

 7        a picture of a dress in red and say, I want a dress like that

 8        in green, and then we can find similar dresses in green that

 9        that you could purchase, if that was better.            So, it allows you

10        to not just say, What is this, but to find relative images and

11        results around the web with a textual modifier.

12        Q.   What has Google observed in terms of the usage of Google

13        Lens?

14        A.   Yeah.   So, about six years ago, when we launched it,

15        obviously had no traffic.       At this point, we have over

16        10 billion uses month on it.        So it's really grown

17        tremendously.       And these are real use case that people couldn't

18        really do it all, right?

19                     So, they're -- conceptually, the information need was

20        always there, the human curiosity was always there, but there

21        was no way to express it.       And by opening up this technology,

22        you can see that people can now express new information needs.

23        And we've been really pleased with the growth.             We see it

24        particularly with our younger users, as well, who are used to

25        sort of always having a phone, always taking pictures, and are
     Case 1:20-cv-03010-APM     Document 989   Filed 06/24/24   Page 31 of 137         8216


 1        much more visual oriented.

 2        Q.   I want to make sure we got the number.            What is the monthly

 3        usage of Google Lens?

 4        A.   Over 10 billion uses a month.

 5        Q.   All right.       What's the relationship between Google Lens and

 6        AI in machine learning?

 7        A.   Sure.    So there's a few different ways that comes.               So, the

 8        first is just to understand what is that image, uses AI.                 That

 9        image is about a hydrangea.          It's about this type of cat.            Not

10        to get distracted by the rest of the stuff around, if you're

11        taking a picture.

12                     The second part is then having that image

13        understanding.      We need to find relevant search results that

14        are about that image.       And then that uses sort of underlying

15        search ranking technology which makes heavy use of ML and AI.

16        Q.   I want to talk about another recent innovation involving AI

17        at Google, and that's something called SGE, or the search

18        generative experience.        What is the search generative

19        experience?

20        A.   So, this is a way that you can opt in to Search Labs.                   So,

21        Search Labs is part of Search.         It enables you to say, I want

22        to try some cutting-edge experimental things.              Right?      Things

23        that might be too different from the current product.                  For

24        everyone to want to opt in, we haven't figured out exactly how

25        do them.     Right?    But, some people are much more early adopters
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 32 of 137   8217


 1        and they would be interested, and so they can opt in.

 2                    Search Labs for SGE, in particular, is one lab.

 3        There's some other labs.      And then we add generative AI into

 4        the search results to enhance them, and we're continuing to

 5        experiment with them.

 6        Q.   Let's look at an example of that.        If you turn to the next

 7        slide.

 8                 Ms. Reid, what is depicted on slide 006?

 9        A.   So, this is search results page that doesn't have SGE

10        enabled, it predates, or by a different user, in which the user

11        issued the queries, is Bryce Canyon or Arches more kid and dog

12        friendly?    Those are two parks in the U.S. and the individual

13        is trying to figure out what is the right place for them to go

14        visit.

15        Q.   All right.     I think -- if you could advance the slide.

16                 What's depicted on slide 007?

17        A.   So this is a search results page that has SGE enabled.           And

18        so what you see -- there's more of the search page below that's

19        cut off in this -- but, you see sort of an overview using

20        generative AI, and then a set of web results that we think are

21        really good for you to continue to explore and jump off to.

22                    As a result, what you can see here is -- you know, in

23        the previous one you didn't really get -- you got different

24        pages.   The pages didn't necessarily talk about whether they

25        are kid or dog friendly.      The query was just too complex.        And
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 33 of 137       8218


 1        now, we can give you an overall sense.          You can get a sense

 2        that the dog friendly part is going to be a little difficult

 3        here.   Neither of them are marked as particularly dog friendly.

 4                    And then you can go and read sites like Tips For

 5        Travelers with Pets in Bryce Canyon National Park.             Figure out,

 6        it's really not great, but here's what I can go and do, since

 7        neither of them are particularly easy.

 8                    And, so, I think it allows a person to express more

 9        of their real need.     Right?     Without something like SGE, you

10        would have probably tried your first query, decided it didn't

11        work.   And so then you would be, like, Bryce Canyon dog

12        friendly, Arches kid friendly, Arches dog friendly, just Arches

13        in general, and you would have issued all of these queries and

14        looked at lots of web pages, even just to get started.               And,

15        so, this accelerates your search.        At a minimum, it connects

16        you with the most relevant pages, even if the information is

17        scattered across the web.

18        Q.   The middle word there, "generative," what does that convey?

19        A.   It conveys the idea that you're using a model to actually

20        output to create something.        Right?   And in this case, what

21        it's creating is this paragraph or set of paragraphs.                Right?

22        It can be used to create an image as well, or a video.               Right?

23        But, the models that do this basically predict, based on input,

24        what they think users would like to see.            Right?

25                    And they can use -- they're grounded on large data
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 34 of 137          8219


 1        sources.    Ours is certainly grounded on the web and a set of

 2        licensed data sources to try to understand.           They are very good

 3        prediction engines, but they are fundamentally prediction.

 4        They try and guess what you would like them to generate and

 5        then do so.

 6        Q.   We had a prior witness, your colleague, Dr. Nayak, here

 7        talking about AI and ML over time.        So, I won't ask you to get

 8        into the details of that, but how does SGE relate to all of

 9        that?

10        A.   So, Dr. Nayak is definitely even more the expert.               But,

11        Search has used large language model, which is one form of

12        generative AI, for a number of years in different ways in

13        Search, but more of the earlier uses, as well, were more behind

14        the scenes that influence ranking, or they were in small parts

15        of the search UI, something like a buying guide.

16                    This is bringing generative AI more to the forefront.

17        It's amazing in some of its capabilities because it does allow

18        you to join information across the web, instead of having to go

19        to all the different sites and try and filter through.               But, on

20        the other hand, it's a pretty nascent technology and it does

21        have some challenges.     It's not always accurate because it is

22        fundamentally predicting what it should say.           And it has some

23        error problem, and so we have to be thoughtful about how we

24        roll it out.

25        Q.   And I notice on the slide we have in front of us, 007,
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 35 of 137   8220


 1        there's a statement up at the top:         Generative AI is

 2        experimental.       Info quality may vary.

 3        A.     Yes.

 4        Q.     And is that the concept that you were just mentioning?

 5        A.     Yeah.   I think we -- people really come to Google as a

 6        place for trustworthy information.         Right?     And so that's

 7        really important to us to preserve that trust with users.             And

 8        the quality, you know, how trustworthy is the information, is

 9        less strong with generative AI, and so you want to double-check

10        it more.

11                       And, so, that's one of the reasons, one, we put this

12        sort of disclaimer at the top, to help people understand you

13        should look at it in more detail, but, also, have it in Search

14        Labs.    So, it's really only those who want to explore the new

15        technology, and then as it gets more mature, we can think about

16        how to we roll it out more broadly.

17        Q.     In addition to SGE, has Google launched other generative AI

18        features?

19        A.     Yes.    There's -- a couple of examples would be in shopping.

20        So, one, we created a buying guide for you to get some sense.

21        Another one that you're putting up here is on using generative

22        AI to help you understand if clothing is the right clothing for

23        you.

24        Q.     Okay.   And when was this launched?

25        A.     In the last year.    I think in maybe May, June of this year.
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 1        Q.   All right.     You can take that down.

 2                 I want to switch from the very present, now, to your

 3        time in geo and local.      From -- is it -- am I right that from

 4        2003 until 2021, your work at Google was focused in those

 5        areas?

 6        A.   In local and maps, yes.

 7        Q.   Okay.   And today, do you have any teams that report to you

 8        that are responsible for any of those areas?

 9        A.   Yes.    The local team moved from geo to search when I moved

10        with it.

11        Q.   Okay.   The Court has heard the term "vertical" throughout

12        the case.    How do you use that term within Google?

13        A.   So, we generally think about it as a class of information

14        needs.   So, there's -- you know, you can slice the world up

15        into these are the different types of questions.            And we think

16        about verticals because they sometimes have both, sort of, you

17        know, general across-the-board information needs, but they

18        often have specialized questions that you ask.            And those often

19        require different information that you might need, or they

20        require organizing the information in a different way or, most

21        often, both.

22                     So that if you really want to help people feel like

23        they got their answer to their question, you have to operate a

24        little bit differently, and so then we think about how do we

25        satisfy those particular information needs?
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 37 of 137    8222


 1        Q.     And is local one of those verticals within Google?

 2        A.     Local is one of those verticals, yes.

 3        Q.     All right.   And when you have a vertical, what is it that

 4        Google does differently, if you will, from just sort of the

 5        traditional 10 blue links to present information to a user?

 6        A.     So, we, first, will use UXR to try and understand what is

 7        different.    We often will introduce different search features

 8        or different layouts of the page to answer the question.             Those

 9        search features often contain different information than you

10        would just get on the web, structured information or highly

11        fresh information that's different.         So not just I have a web

12        page that has something, but I have up-to-the-minute price from

13        the hotels that they've just sent us or up-to-the-second game

14        scores or here's actually what are the opening hours for

15        business, even though that may not be posted anywhere on the

16        web.

17                     So we'll surface different information to really

18        address a larger range of the information needs within that

19        vertical.

20        Q.     You used the term there "structured data."         What does that

21        mean and how does it relate to verticals?

22        A.     So, you can think of structured data as not just here's a

23        text or image, but that you have some semantic understanding of

24        what is it, right?     So, it's not just a string of words.          It's

25        an address, and we know it's an address.            And because we know
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 1        it's an address, we can do things like place it on the map.

 2        Right?

 3                     And you might also want to audit that it actually is

 4        a legitimate address and not just -- you know, I can go say

 5        12345 Main Street, Washington, D.C.          Doesn't mean it

 6        necessarily exists, right?         And, so, we put different

 7        understanding of it.     We might put different effort to make

 8        sure it's accurate and different techniques to do so that's

 9        different than if you just crawl the web.

10        Q.   When you started at Google in 2003, were there verticals or

11        search features in place already?

12        A.   There were.    I don't know -- I don't recall all of them.

13        But, for instance, News had been there for at least a little

14        while.   There were other search features, modules across.             I

15        think there was one around spelling or dictionary, other

16        questions.    I don't remember all of the exact ones.

17        Q.   Fair enough.    Could you give the Court some examples over

18        the years of, in addition to local, some of these verticals

19        that Google has launched?

20        A.   So we've added new futures for things like weather, for

21        sports, like the World Cup or the Olympics, or just even here

22        was the basketball game last night.          We have added ones around

23        movies, around people.      We have added books.        I think some of

24        books might have started before I did, but that has been

25        enhanced.    We also have ones around travel information.             We
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 1        have ones around products.         But, there's a long tail of them.

 2        Q.   Why is it that Google creates these vertical experiences

 3        within the search results page?

 4        A.   Yeah, I think if you go back to the original mission Google

 5        had, that Larry and Sergey created, they said, organize all the

 6        world's information.     They didn't say organize all the web

 7        information.    They really, really had the desire that you could

 8        come here and get any question answered.             Right?   If you think

 9        about what you used with the library, why is something that's

10        available in the library not going to be available on search

11        just because it wasn't on a web page?

12                     So they really wanted to answer all of those

13        questions.     And there's lots of time where that information

14        just isn't on any web page, and so we didn't think users should

15        be hampered just based on whether it's on a web page, and we

16        should really try and gather the data, whatever is necessary,

17        and answer it.

18        Q.   How does that relate to structured data or structured

19        information?    Is that always found on the web?           Or how does

20        Google go about finding the structured data?

21        A.   Yeah.   So, generally, if you crawl a web page, it may

22        contain some of this information, but it's not structured.

23        It's just -- I mean, it's structured in a web page format, not

24        in sort of a database key value pair.          But much of the

25        information is not even on the web.          So, we have feeds that we
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 1        get, we have license data in various cases.            In some cases,

 2        users give us data.      In some cases, merchants across shopping

 3        and local give us data.       We have, in the case of geo, actually

 4        sent people out into the real world to gather the data, or we

 5        have people call up businesses to gather data so that we can

 6        really build that up.

 7        Q.   You used a phrase there, "database key value pair."                What

 8        is -- what does that mean?

 9        A.   Yeah.   So, you know, if -- a database is more something

10        that actually consists of key, meaning like what is the type

11        with the semantic sense and what is the actual value.                 And so

12        databases are typically very structured.             The web is typically

13        very much not structured.       Right?    And so we have a knowledge

14        graph that is not, sort of, exactly your traditional database,

15        but is, essentially, a database of your entities we know in the

16        real world and what do we know about them.

17                     And we maintain that and that enables us to answer

18        questions like how old is someone, how tall is a basketball

19        player, what is the weather today, because we know very

20        specifically.       We're not just returning a web page.         We're

21        giving you a specific answer.

22        Q.   All right.      If we could turn to the next slide in the

23        demonstrative, 009.

24                What's shown here?

25        A.   This is a search results page.         If you issued the query
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 1        "Vegan Mexican food San Diego," and shows some of the different

 2        features and results on the page.        If we get that query, we

 3        think users might be interested in a variety of different

 4        things.    They might be interested in the restaurants

 5        themselves, so we show some of those restaurants.            It's really

 6        great for the restaurants to connect directly with their users.

 7                     We also show some results around the web.          Here are

 8        some that review.     Right?   Veg/Mag is, I believe, a magazine

 9        that specializes around vegan food, so you can get the

10        different reviews from there or from Yelp.           People often have

11        difficulty figuring out exactly what queries they can type and

12        have to learn, and so we give people suggestions for other

13        things they might do, then you receive more web results.

14                     And then further down on the page, we have this

15        ability that if you're, like, still scrolling, you probably

16        didn't find exactly what you wanted yet.            Maybe we should

17        broaden your query.       And maybe you don't like the vegan Mexican

18        ones, but you're interested in other healthy restaurants or

19        family friendly, so you can explore broader than your original

20        query.

21        Q.   Let's go back in time and go to the next slide.

22                  What is this?

23        A.   This is what -- an early version of local.           If you went to

24        google.com and you clicked on the local tab or you clicked on a

25        link from the main web results that we did, it looks pretty
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 1        different.    We knew, sort of, name, address, phone, sort of

 2        your standard White Pages, Yellow-Page information, and then we

 3        had attached relevant web pages to it.          It is -- you can, you

 4        know, click on something to see a map.          The map loaded pretty

 5        slowly.    We didn't know things like opening hours.           We didn't

 6        really have reviews or photos, and just the amount of

 7        information we got was, you know, sort of basically as if you

 8        had scanned the White Pages on, and then attached some of the

 9        relevant ones.

10                     You can see at the top we have things like Other

11        Grocery Products, Pizza Wholesale.        I'm slightly embarrassed by

12        that, but that's fine.      We had -- we basically had no

13        understanding of categories or goods-related search terms, and

14        so what we did was, we took the White Pages categorization that

15        they had and we showed it to the users for these results.            And

16        this is actually how the White Pages would encode some of these

17        categories.

18                     I don't think people actually wanted to buy pizza

19        wholesale, but, nonetheless, if they did, then now they would

20        have the ability to access those results.

21        Q.   And this is circa 2004.

22                  Why did Google launch this local vertical?

23        A.   So, you know, I was mentioning earlier, there's a set of

24        information needs that people wanted for which the information

25        isn't available in the web.        There's still a huge number of
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 1        businesses today, even in a country like U.S., that are not --

 2        do not have their information posted on a web page.             This was

 3        even more true in 2004.

 4                    But, it's a very real need.        People wanted to know

 5        what was the phone number of the business.           Where do they

 6        navigate?    They wanted to find a plumber.         And you might have

 7        the White Pages book, but, first of all, that might be 11

 8        months old.    If you're traveling, you don't necessarily have a

 9        White Pages book, and yet you need to go find a store because

10        you have to get Tylenol for your toddler and it's 9 p.m. and

11        they're screaming.     Where can you go?      So it just enabled us to

12        answer information needs that people really had.

13        Q.   And at this time, in 2004, who were Google's competitors in

14        this local vertical?

15        A.   So, I don't even remember exactly all of them.            The general

16        search engines we do it at some level, people could go.              Most

17        often people would actually just use a White Pages book at some

18        level, or they would ask friends, and there weren't really

19        richer local focus sites.      Over the next few years there were

20        more companies, like Yelp, came into existence.            So, early on,

21        within a few years, there were more, sort of, review sites for

22        local that were competitors.

23                    Then, later on, it added sites like food delivery and

24        additional -- I guess, to some degree, you would also have,

25        like, sites would publish critiques, right, of different ones.
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 1        The New York Times list of restaurants, but most people

 2        couldn't necessarily afford The New York Times restaurants, and

 3        they didn't exist in rural New Hampshire, where I was.               So,

 4        it's really evolved the competitive landscape since then.

 5        Q.   When this was launched, in 2004, was there any meaningful

 6        mobile search?

 7        A.   No.    I don't believe there was even any work on mobile

 8        search then.

 9        Q.   Okay.    And we'll talk a little bit more about this, I

10        think.     But, over time, local became important to mobile, I

11        take it?

12        A.   It did.

13        Q.   Even with that, are there, today, in the group reports to

14        you, a meaningful amount of local search that occurs on

15        desktop?

16        A.   Yes, there continues to be a fairly substantial amount of

17        search traffic on desktop for local needs.

18        Q.   I want to switch to the topic of investments.            If you look

19        at Google's investment in local and the other pieces of geo

20        that you've talked about, what's the scale of that investment?

21        A.   So, it's quite substantial.       I would say, over the years,

22        we've spent billions of dollars trying to have really accurate

23        data.    We have quite a variety of different techniques.            We

24        have to license satellite data.        We have sent street view cars

25        around.     We've sent people in India door to door because there
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 1        were no directories of many of the businesses around.

 2                    We have a large number of vendors that we work with

 3        that will do things like call up businesses and either collect

 4        information or confirm, if we've got a user report.             We had to

 5        license data from many different sources from what's the

 6        underlying map structure, all the way up through what is the

 7        business data.      And then we've invested in efforts to collect

 8        data from users directly with programs like local guides doing

 9        outreach to allow.

10                    So, both, you know, thousands -- hundreds, if not

11        thousands of engineers, as well as a lot of money to really

12        have an accurate model of the world.

13        Q.   And I asked a question a couple minutes ago, but, how did

14        the rise of mobile search impact the local vertical?

15        A.   So, a few things changed with it.        One was just there was

16        an increased need for local on mobile relative to desktop, but,

17        mostly, people's expectations of what they should be able to

18        get changed.    So, they no longer -- you know, if you saw the

19        2004 one, it said 1 miles, 5 miles, 15 miles as options of your

20        distance.    Now, if I'm on the go and I'm searching for an ATM,

21        I want the closest ATM, which is -- might be .1 miles away.

22        Right?   So how you thought about distance suddenly changed.

23                    Things like hours changed because you were going to

24        go, you were on the go, and so you wanted to know not just

25        which places exist in an abstract sense, but which places are
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 1        relevant for you right now, and so can you actually go visit.

 2        People started to do more late planning.             So, the switch

 3        from -- you know, 20 years ago, everyone would make sure you

 4        booked your hotel before you traveled.           Maybe -- maybe if

 5        you're 18, you didn't, but everyone else with kids would

 6        absolutely do so.

 7                    And now, you actually have a number of people who

 8        will go book a hotel last minute in the city because they

 9        believe they can figure out, without much effort, where is a

10        hotel that has an opening and do that.           If you did that with

11        kids, you would be, like, oh, my gosh, I'm going to have to go

12        door to door, I'm going to spend three hours, you know.               So

13        people believe that they can do much more on the fly with

14        mobile, and so their expectations have really risen across.

15        Q.   How did Google go about optimizing its local search for

16        mobile?

17        A.   So, one, you know, at its most basic, the page layout has

18        to be different.     Right?   You have a big screen.         Now you've

19        got a much smaller screen.         But, a big thing was just realizing

20        that we needed to meet new needs, so we needed to go collect

21        all this additional data.      People really expected on mobile

22        that you would see photos, you would see reviews, you would see

23        menus.    Right?    So we had to gather that.        We had to think

24        about how we formatted that question.

25                    We had to improve the ranking, especially in how we
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 1        weighted distance.      To my previous point about ATMs, you now

 2        needed to really sort them by distance, but you had to

 3        understand that how you did it for ATMs is different than

 4        restaurants.     ATMs, people care about basically nothing other

 5        than is it open, is it my bank, and what's the closest?               That's

 6        all they care about.

 7                      In restaurants, you're willing to go a little bit

 8        further to get a better restaurant.          Right?    And so you had to

 9        think about distance, but you think about distance in a nuanced

10        way.

11        Q.     And as Google was exploring and thinking about distance in

12        mobile, did it rely on click and query data to any serious

13        extent in doing that?

14        A.     No.   I mean, it was a signal, for sure, but it was not the

15        dominant one.       We really needed to understand what was the

16        user's location of the phone.        We also used raters to

17        understand how far people would want to go for this query.              So,

18        that would be used as the primary signal, the location, and

19        what we got from raters.

20                      We did use user query and click-on data to refine the

21        distance.     You understood ATMs are closer than restaurants, and

22        we would sort of reinforce.         But it was a smaller signal on

23        top.

24        Q.     How much data do you need to figure out that people are

25        tolerant of going a certain distance to an ATM versus to a
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 1        restaurant?

 2        A.   Not a huge amount, in my mind.        Right?     That you can figure

 3        out some of those things pretty quickly.            You do, you know,

 4        over time learn things like, okay, your tolerance of distance

 5        is different in the rural areas versus the more dense areas.

 6        But you can start to understand these extrapolations more

 7        broadly.

 8        Q.   These entities in the world that you're now trying to

 9        understand the distance from wherever the user is based on the

10        signal from the mobile device, how did Google go about

11        organizing and understanding these entities in the world?

12        A.   So, to understand the places in the world we use a range.

13        So we gather -- we license feeds to understand what are the

14        places.    We ask users to tell us about new places, as well as

15        the information about it.      We ask merchants who are willing to,

16        to give us the information.        We do send people, I mentioned

17        earlier, in India, send people to gather information about

18        places.    And so it's really a wide range of different

19        techniques to actually have a model of the world.

20                    Freshness is very difficult with businesses.             They

21        change very quickly.     They go in and out of business, often

22        within a year.      A lot of businesses don't make it through their

23        first year.    Their hours change very often, and so they move

24        halfway down the street.      But, also, Starbucks has two

25        locations within the block in parts of New York City, too.              So
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 1        you have to understand all of these different connections

 2        across.

 3                    And so it's a lot of work to both gather the data,

 4        but then to ensure the data stays up to date, to ensure that

 5        you can filter out SPAM.       So there's SPAM, even sort of made-up

 6        businesses, even in the White Pages, Yellow Pages data, that

 7        only continues, and each new source has an opportunity to have

 8        SPAM within it, as well, that you have to be thoughtful of.

 9        Q.   I think you mentioned vendors before in the sense of people

10        working for Google.      How are they used in that process?

11        A.   Technically, I don't believe they work for Google.               They

12        work for a company that Google works with.            But, we will give

13        them a set of tasks.      Okay?     So they might have been given

14        satellite imagery and asked to draw where are the roads, right,

15        in certain parts of the world where there wasn't underlying

16        mapping data.       We will get user reports that says the hours are

17        wrong or this business is closed, and then the vendors will

18        call up the business and say, Do you still exist?             Are you

19        open?   Are you temporary closing?        Or, are your hours correct?

20                    So, we're doing that.       Then, we will also go look at

21        data that we think is suspicious and say, Do they think it's a

22        SPAMing business or not?       So they can be used to improve our

23        underlying algorithms, as well as just to confirm data on a

24        correct basis, as well as to create underlying data.

25        Q.   You've also mentioned, I think, user-generated content.
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 1        What is user-generated content?

 2        A.   So, user-generated content is basically content that comes

 3        from users.    Users give it to us directly.          We will often refer

 4        to it with content that's more about a user's experience,

 5        something like photos or reviews, but it really refers to any

 6        content that comes.     So if a user gives us opening hours, if a

 7        user tells us their new favorite restaurant has just opened up,

 8        if they tell us this place no longer exists because they drove

 9        there and they're, like, oh, that's closed, Google, don't do

10        this to anyone else again.         Right?   All of the other forms of

11        user-generated content.

12        Q.   Has Google done anything to inspire or cause more

13        user-generated content to be created?

14        A.   Yeah.    So, we've done a variety of different things.           One

15        is just to improve our ability to figure out which people

16        actually want to contribute content, and, so, start to

17        understand.    And for those that do, how do we make it easy?

18        For those who really like to, we have a local guides program,

19        and we sort of nurture a community of people who wish to give

20        us that.

21                     The local guides program has levels, it has badges,

22        it has some perks.     It's not really a paid program.           We really

23        get the data from people who are eager to share about their

24        experiences to improve their neighborhood.            We have places in

25        Brazil that were more off the standard map that Brazil would
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 51 of 137   8236


 1        have, and they could go and they drew the map and they felt

 2        like they made their neighborhood be seen, and it was deeply

 3        empowering for them.

 4                     So, a lot of effort to really make it feel exciting

 5        for users.    We send emails to them that say, Did you know,

 6        thanks to your review, 1,000 people have benefited or a million

 7        people have benefited, so they understand the value what

 8        they're doing.

 9        Q.   What was your involvement in that effort?

10        A.   So, I was the engineering lead on a number of the projects

11        for it over the years, really thinking about, like, how do we

12        build out?    If we're going to send emails, then we have to

13        figure out who do we send emails to build out that feature,

14        improve the flows, how do you make it easy for people to

15        contribute in a way that's natural.

16                     Relatively easy to think about how you upload photos.

17        A little harder to upload opening hours.            They're highly

18        structured.    People make mistakes.      How do you do a great job

19        for that?    You can then take an image and do OCR to understand

20        the hours.    So, all different efforts to make it easier.

21        Q.   And roughly what time period did that effort to generate

22        more user-generated content occur -- or start, I should say?

23        A.   So, it probably started somewhere in the 2005 to 2007

24        effort.   Pretty early on we were aware that the data was

25        incomplete, it was not fresh.       Different parts of data were
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 1        coming in at different points.       And then we did that for

 2        several years, and then we really increased our efforts in the

 3        mid-2010s in how focused we were in collecting that data.

 4        Q.   There's a document in the binder in front of you, DX208.

 5        If you could turn to that.

 6                And what is -- which is in evidence.

 7                Are you familiar with this document?

 8        A.   I am.

 9        Q.   What was -- what was your role in this document, or how

10        were you involved in this document?

11        A.   Sure.   So, in 2020, while I was still on geo, Prabhakar, my

12        boss, took on the geo team.        He was managing a different side

13        of the team, so he added geo and search to his portfolio, and

14        we had to ramp him up.      We had to teach him what should he know

15        about geo.    And UGC is really fundamental to us having an

16        accurate model of the world, and, really, the maps and local

17        product lives or dies based on the quality of the data.              And,

18        so, this was really fundamental.

19                     And so we wrote a different series of docs about what

20        we should know about geo, including UGC, and this was one of

21        the ones.    And so some of the engine product leads specifically

22        focused on UGC wrote this doc.       Some of them were on my team,

23        some of them were on the product team, and we shared those docs

24        with Prabhakar.

25        Q.   All right.     Halfway down the page there's a section UGC
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 1        Contribution At a Glance.

 2                  What's the importance of these statistics that are being

 3        presented here?

 4        A.   So we really wanted to give Prabhakar a sense of what is

 5        the scale of UGC, right?      It's very easy to not really

 6        understand -- like, there are a lot of places in the world,

 7        there are a lot of users, and what we were able to gather.            So

 8        we wanted to have him understand the landscape, photos,

 9        reviews, just even basic places.

10                     So it mentions in the first paragraph, half of the

11        new places that we figured out came from users telling us about

12        that.    We had really ramped up.      You can see that we had a

13        billion photos contributed in 2019, but 3 billion photos in the

14        corpus.    So, you can see that we had really grown.           We weren't

15        getting a billion every year for 20 years or anything, but we

16        had started to actually figure out, especially with mobile, how

17        to encourage people to give us contributions and be effective

18        at it.

19                     Similar with the number of reviews contributed and

20        then the total reviews of the corpus.         You never really feel

21        like you have enough photos and reviews because you always want

22        them to be fresh.     So it's not just do you have a sense of the

23        place, but that place might have changed management.             It might

24        be different, right?     You might have photos of the food, but

25        now they have a seasonal menu.       So you really want to continue
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 1        to have a great deal of freshness.

 2                    And you can see with the 20 million new businesses,

 3        there's a lot -- we have been working on this problem for 16

 4        years and still we needed to add new businesses because we

 5        didn't know about them or because they just opened.             Right?

 6        Clearly, we did not add the closure stats three years later.

 7        Separate thing, but --

 8                    And then we have 135 million local guides.           These are

 9        folks who not only have contributed, but have opted into a

10        program around a community and a set of features and badges.

11        And people, you know, will have -- all have coworkers who are,

12        like, I'm a level 7.     I'm, like, I'm impressed that you have

13        time to be a level 7 guide, but really great to see.             So, lots

14        of enthusiasm for people to really share.

15        Q.   All right.     And then -- sorry.

16                    THE COURT:    I'm sorry.     UGC stands for?

17                    THE WITNESS:    User-generated content.

18                    THE COURT:    Okay.    Thanks.

19        BY MR. SMURZYASKI:

20        Q.   In addition to content from users, does Google go about

21        trying to obtain information from businesses for its geo

22        products?

23        A.   Yes, we do.    So there's a few reasons for that.          The

24        merchants are the most expert on some class of things, so they

25        will know first when their opening hours change.            They will
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 1        know first when the business opens for the first time.

 2                       The other is users are great at giving us

 3        contributions, but they tend to prefer certain types of

 4        contributions over others.          So, users love telling us about

 5        their favorite restaurants.         They're not as focused on telling

 6        us about their favorite plumbers.          So, they are not, oh,

 7        there's a new plumber around.

 8                       So if you really want to have a comprehensive model

 9        of the world, then you want to really reach out to merchants as

10        well.

11        Q.     Okay.   And does Google provide any tools to businesses to

12        provide this information?

13        A.     Yes.    So, we have a set of tools.      There's a -- the program

14        we think of is Google My Business.          This is -- allows

15        businesses to contribute information about themselves.                 They

16        can do so directly, on some of the sites.             They can do so

17        within Google Maps and add the information there.

18                       We also allow API access for large chains or for some

19        third parties that collect information from different

20        businesses and then give it to multiple companies.               That's

21        really, if you are a Starbucks, you are constantly opening,

22        closing, changing your hours.         We don't want to call you every

23        day.    That's very taxing to your systems.           You can just say,

24        oh, these three businesses changed today, and upload it.

25        Q.     When did Google develop this program?
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24    Page 56 of 137   8241


 1        A.   So, Google My Business is the newest name.            The very first

 2        name was Local Business Center, and I think it was somewhere in

 3        the, like, 2005 to 2007.        Pretty early on we knew that we

 4        needed to get the data from merchants.

 5                      MR. SMURZYNSKI:    Your Honor, this would be an

 6        appropriate time to take a break, if it's convenient for the

 7        Court.

 8                      THE COURT:   Okay.   So let's take our morning break.

 9        We'll resume at 11:15.

10                      And, Ms. Reid, I'll just ask you not discuss your

11        testimony with anyone during the break.             Thank you.

12                      (Recess from 11:05 a.m. to 11:16 a.m.)

13                      MR. SMURZYNSKI:    Thank you, Your Honor.

14        MR. SMURZYNSKI:

15        Q.   Ms. Reid, if you could turn to DX101.            That's in the binder

16        in front of you.

17                 And this is a document that's in evidence.

18                 Are you familiar with this deck?

19        A.   I am.

20        Q.   It indicates:    Jen, Staff Update.

21                 At this point in time, in 2017, were you part of that

22        group?

23        A.   I was.

24        Q.   What is this deck?

25        A.   So, at the time, we had an OKR around how we were
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24    Page 57 of 137       8242


 1        supporting the small businesses.         OKR is basically a goal.          It

 2        was either at the geo level or at the company level, I can't

 3        quite recall.       And "Jen, Staff," Jen was the lead of geo at

 4        that time, and, so, this was a review with her leads, including

 5        myself, around how are we making progress against this annual

 6        goal.

 7        Q.   All right.      If you could turn to the page that is marked

 8        .012 in the middle.      So, 12 pages in.

 9                What's depicted on this slide?

10        A.   So, on the left is a set of launches, sort of changes we

11        had pushed to users in a recent time, probably within the last

12        one to three months.      And then on the right were the upcoming

13        launches for June in the space of local, specifically focused

14        around helping merchants.       So, ways that merchants could

15        improve how they gave the data or how they understood how their

16        business was being perceived on Google.              So, a set of tools and

17        insights for businesses.

18        Q.   Is this sort of a representative month or so in the geo

19        organization in terms of working with businesses?

20        A.   Yeah.   I mean, some months would have had fewer, some would

21        have had more, but it's a reasonable approximation.               We are

22        shipping lots of changes on a constant basis, some of them

23        bigger, some of them smaller.        But, we're really trying to

24        improve the experience.       And we try and get changes out as

25        quickly as we can for users so they can benefit.
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 58 of 137        8243


 1        Q.   I think you mentioned this was a subset of the launches

 2        that were going on in the geo organization.           What were, sort

 3        of, the other areas that geo would launch products or

 4        improvements in?

 5        A.   So this was the ones focused on merchants.           So any efforts

 6        that we would have had efforts improving our ranking or our

 7        driving directions quality that would have been going out, we

 8        would have had efforts to just improve the underlying data that

 9        we had.   New features for UGC that we talked about earlier

10        wouldn't have been included here.        New changes to change how

11        the search experience looks like on Google Search for places,

12        or to change the user experience on Google Maps also wouldn't

13        be included here.     Any efforts around Street View or Satellite

14        that were also coming in would also not be listed here.              So

15        this was really just focused on the merchant subset of the

16        team.

17        Q.   I want to switch topics to Google Maps.          When did Google

18        launch Google Maps?

19        A.   I believe 2005.

20        Q.   And why did Google launch a maps product?

21        A.   So Larry and Sergey, you know, if you go back to the ones

22        who really wanted to organize the world's information,

23        geographic information was really key.          That's why we had also

24        started with local.     And using Maps products at the time were a

25        little bit clunky.     So, if you would use them, you would see an
     Case 1:20-cv-03010-APM    Document 989    Filed 06/24/24   Page 59 of 137       8244


 1        image of the thing, and it would often not be at the right zoom

 2        level or the right part of the map you want.

 3                    And so then you would click, like, a button, and you

 4        would wait what felt like an eternity, a few seconds, it would

 5        move.   And then you would click again, it would move.                 And then

 6        you might get frustrated and click it three times and realize

 7        you should have only clicked it twice.            So, it was a very

 8        painful experience to sort of explore the world and find the

 9        right map that you wanted.

10                    And so Google thought it could do a better job with

11        that.   And so it wasn't about the unknown data.             We shared the

12        data at that time.      We got it from another provider.           But, we

13        felt that the user experience could be pretty different, and so

14        we launched Google Maps.       The speed of panning and zoom felt

15        very materially different.          And at this point it was a desktop

16        only product.       Mostly, you could find an address, you could get

17        directions, you could print it out, you could bring it in your

18        car with you as you went and you could find places.               But, it

19        was really about how we innovate on the experience with a high

20        focus on speed for users.

21        Q.   And what was your involvement in that product at that time?

22        A.   So, at the time of launch, I was focused more from the

23        local side of integrating the business information into Google

24        Maps.   Shortly thereafter, I worked with the tech lead, sort of

25        the overall engineering lead, for the work on the Maps front
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 60 of 137       8245


 1        end, specifically, what did the interface for your Google

 2        search box, your home page look like for Google Maps and your

 3        results page.

 4        Q.    And how important is having this Maps product to the local

 5        vertical?

 6        A.    So, I think in general, there's a few different ways.             So,

 7        across both of them, we're really invested in building a great

 8        underlying model of the world.       And so not just the maps

 9        product, but the effort to build up both really ensured that we

10        had a high-quality model of where are the roads, where are the

11        street numbers.

12                    And things like street numbers may seem easy, but,

13        like, in the U.S., you can kind of guess where 100, 200, 150

14        is.   In Japan, buildings are actually numbered by when they're

15        built.   So you can't just say, Here's 1, here's 5.            It's based

16        on the time it was built, rather than its location.             So in

17        order to know how to get to the place, you really need

18        underlying maps data.

19                    And Google Maps has also been really critical.              It's

20        the primarily place people give user-generated content, more

21        than Google Search, and so without that, that would have

22        fundamentally changed it.

23        Q.    And during your time in local and geo, were you familiar

24        with who Google considered to be its key competitors in that

25        space?
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 61 of 137     8246


 1        A.   Yes.

 2        Q.   And did Google do assessments from time to time of that?

 3        A.   It did.

 4        Q.   And why did Google look at the competitive landscape in the

 5        local area?

 6        A.   So, you know, in general, whether it's Search or local or

 7        maps, we think we can always learn from other people, learn

 8        from competitors about what are they doing well?            What does it

 9        teach us about what are user expectations, how to better help

10        users?   So, we always look at that question, about what are

11        they doing well, what should we improve on, how do we better

12        serve our users.

13        Q.   If you turn in your binder to Exhibit DX62, which is in

14        evidence.

15                 What is this exhibit?

16        A.   So UER stood for user experience research.           So, these days,

17        we would us USR internally as the name for it.            At another

18        time, we called it UER.      So, the user experience team did

19        research on understanding what is the state of the external

20        landscape around local discovery, and we used local discovery

21        there to distinguish that it wasn't just local search where

22        people always typed in a query, but where people might learn

23        about where they would go on the weekend, both in a browse or

24        in search space; who was, essentially, answering information

25        needs for local.
     Case 1:20-cv-03010-APM   Document 989    Filed 06/24/24   Page 62 of 137    8247


 1        Q.   And at this time, January 2015, to whom did the UER team

 2        report?

 3        A.   The UER team, I believe, reported -- so, it reported up

 4        through Jen.    It reported either to a product or a U.S. lead

 5        that reported it.     But, they would present these findings to

 6        the product and engineering leads, including myself.

 7        Q.   Let's look at the slide that ends in .38, so 38 pages in.

 8                  On this slide, the document indicates a survey question

 9        that was asked:     When was the last time you used your phone or

10        computer to discover a place in your local area, e.g.,

11        restaurants, shops, parks?         What app or website did you use to

12        look it up?

13                  And when you did this work, what did you find?

14        A.   So, I think we found that people were using quite a range

15        of different tools.     You will see that the list of places were

16        things that felt more like general engines, whether it's Google

17        or Bing, it would include more vertical review sites like Yelp

18        or Urbanspoon.      It started to include things like OpenTable,

19        which specialized in restaurant reservations, but people were

20        actually using it also to actually explore what are the

21        restaurants to go to.

22                     You see Apple Maps starting to show up across.           You

23        see Groupon.    People would go to Groupon to find a discount at

24        a restaurant, so that's where they would decide where they were

25        going to go eat because they wanted a deal.            So it was a range
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 63 of 137   8248


 1        of different places that people were using, some that were more

 2        app oriented, some that are more website.           This was

 3        specifically, I think, targeted towards the U.S.

 4        Q.   All right.     And then if you go to the next page, the survey

 5        question being asked is:      On your cell phone/mobile phone, do

 6        you have any software applications or apps that help you get

 7        information about local restaurants?         Which app have you used

 8        the most on your cell phone/mobile phone to find information

 9        about local restaurants?

10                 And what did you learn there?

11        A.   So, we learned that users, when they were asked to answer

12        the questions specifically for apps, would most often reference

13        Yelp.    They would also reference Google Search and Google Maps,

14        Tripadvisor, Four Square.      There were others.        But, when asked

15        to think about the app, this is where they would turn to first.

16        Q.   There's a statement on the right:        Yelp dominates apps for

17        restaurants.    And then below it a call to action of some sort.

18                 What did Google do as it was surveying the landscape

19        here and seeing what else was going on in the local search

20        arena?

21        A.   So, it was really trying to understand sort of who has the

22        mind share that people turn to, and then from that, what can we

23        learn?   And so I believe there's -- whether it was in this

24        study or a subsequent one, there was research to understand how

25        did Yelp and Tripadvisor and others answer these questions, and
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 1        what can we choose to learn from it to affect our product

 2        strategy?

 3        Q.   And this, in particular, focuses on apps.           How have mobile

 4        phone applications affected the competition in verticals like

 5        local?

 6        A.   So, it affects it in a few different ways.           One is that not

 7        everyone sort of has a similar starting place.            Instead of

 8        going to a browser in a search box, people will install their

 9        own -- their favorite apps on their home screen.            So that's one

10        way of just where do they start.        But, apps also tend to have

11        more of a relationship with people than on websites.             So you're

12        not only, by default, signed in, but they can send you

13        notifications.      They can have a custom start page because

14        people are going to the app directly, rather than starting with

15        a specific search query by the time it links through.

16                    And so people really had this more sense of, okay,

17        I -- some group of people prefer Yelp and other people prefer a

18        different app, and so you got -- users got more split out based

19        on their favorite apps, as opposed to coming to a search engine

20        where you might see four or five different sites and you might

21        change which one you would use.        They would develop familiarity

22        and products around specific apps.

23        Q.   We talked much earlier a little bit about social media.

24        Today, what's the role of social media in local search?

25        A.   So, social media can show up in a bunch of different ways.
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 65 of 137   8250


 1        So, one, people will sometimes be browsing their feed and they

 2        will learn about a place and that will inspire them to go to it

 3        maybe at the moment, or will have a UXR that says people that

 4        go and read their feed and then jot down in Apple Notes, oh,

 5        this place was cool.      And then on Saturday, they look up the

 6        place from their Apple Notes, and that's where they go.

 7                     So they can get inspired based on things they see in

 8        the feeds.    They will often follow particular businesses that

 9        are their favorites, or they will follow influencers that talk

10        about places.       And so the business might say, I have a special

11        tonight, or I have music in my restaurant and come listen.            So,

12        it allows merchants to have more of a direct relationship.

13                     And then because people are on those social media for

14        so many hours, if they decide that they're hungry or something,

15        they might go and use the search engine to hear what are other

16        folks like that talking about in their neighborhood, about

17        which restaurants they might want to visit or where they might

18        want to go for the weekend or there's a pumpkin patch event

19        they didn't know about.       And they'll say, you know, this

20        weekend things to do, and then somebody will go and show a

21        video of what they were doing at the pumpkin patch.

22                     So it both has changed more at the inspiration level

23        as well as at the search engine, and it has changed the

24        connection between merchants and individual people in a more

25        dramatic way.
     Case 1:20-cv-03010-APM   Document 989    Filed 06/24/24    Page 66 of 137       8251


 1        Q.   Have you observed Facebook efforts to reach out to

 2        merchants in this space?

 3        A.   Yes.

 4        Q.   And what have you observed?

 5        A.   They have had a very concerted effort to do that.                 Over the

 6        years, a lot of businesses have Facebook pages because many

 7        people are used to posting on Facebook as a sort of more normal

 8        user.    They're very familiar with the tools.           And so the

 9        merchant profiles which you can list your business feel very

10        similar to a profile for a user-created.             And so they really

11        made an effort to do that.         They made it possible to search.

12                    And so I would say a handful of years ago, Facebook's

13        effort around merchants was really big.              It continues to be,

14        but now you see a lot of Instagram, not just on the main

15        Facebook app, or they'll go and then people will post a lot of

16        images; so here's what the places and the food are or here's

17        what's going on in there.      But they have really made an effort

18        to do that, and it's been very successful.

19        Q.   Today, who would you consider to be Google's most

20        significant competitors in the local vertical?

21        A.   It's hard to decide who is the most significant because

22        there's a variety.     I do think -- it depends a lot with younger

23        users.   So, we do see with younger users they are increasingly

24        using Instagram and TikTok for discovering things like

25        restaurants.    You'll get a different answer for something like
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 67 of 137       8252


 1        plumbers.    So, social media, I do think, is big.

 2                    I think the review sites are at some level, but I

 3        would actually say food delivery sites and restaurant

 4        reservations, particularly food delivery as people order in

 5        more rather than go out.       People have loyalty programs.           Right?

 6        With DoorDash you have a DashPass, and so then you build this

 7        relationship.       And so you go directly to DoorDash to decide

 8        where to go eat because you're only going to pick the places

 9        that will deliver from DoorDash, and so you don't need to go to

10        Google.

11                    So, these ones that started more at the transaction

12        level have really gone up in exploration across.             And I would

13        also say the most significant competitors vary by country.                So,

14        you know, in the U.S., Yelp is bigger versus in India Zomato is

15        bigger.    And so you actually have to look at the landscape,

16        both for subvertical within local as well as per demographic,

17        as well as per country.       And so we have to compete across all

18        of them.

19        Q.   In the United States, how would you describe the trend in

20        the level of competition in the local vertical?

21        A.   I think it has, honestly, dramatically increased.                There's

22        just a lot more players in the space.          They're answering a lot

23        of different ways.      Social media was not something we had all

24        thought about 20 years ago as a competitor.            I think Apple Maps

25        has also increased in the space compared to five years ago or
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 68 of 137     8253


 1        ten years ago.

 2                    So what you just see is, now, you also get apps --

 3        like, their entire focus is on, like, pet sitting and walking.

 4        Right?    Okay.     And that will be, like, a $2 billion valuation

 5        of a company, and that's all they focus on.            Right?    Which is

 6        kind of mind boggling, but that's an example, that you can get

 7        somebody who will say, I'm going to enter in the landscape, but

 8        I don't have to answer all of them.          I can make a real business

 9        focusing on this niche.

10                    And so there's a lot more players that just focus on

11        particular angles because people can access them via apps.              So

12        they can build those relationships and they can switch between

13        the different apps for their uses.

14                    MR. SMURZYNSKI:     Thank you, Ms. Reid.        I have no

15        further questions.

16                    Your Honor, we had marked a demonstrative DXD28.            I

17        ask that it be received in the same manner that we've received

18        other demonstratives today.

19                    THE COURT:     Okay.    It will be admitted for that

20        purpose.

21                    All right.     Ready with DoJ cross?

22                    MR. DAHLQUIST:     Thank you, Your Honor.        Just a

23        moment.

24                                  CROSS-EXAMINATION

25        BY MR. DAHLQUIST:
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 69 of 137   8254


 1        Q.   Good morning, Ms. Reid.       Good to meet you.

 2        A.   Good morning.

 3        Q.   My name is David Dahlquist, and I represent the

 4        United States.      I would like to ask you a few questions today

 5        about some of the documents that your counsel showed you, as

 6        well as some of the work that you do at Google.

 7                 I guess to just start, let's start where we finished,

 8        perhaps.    And DX62, which was the Landscape of Local Discovery.

 9        I don't know if we're able to put that up.           Give it a minute.

10        It should be in your binder, as well, DX62.

11                 This is a document, just as we're talking about it here,

12        your counsel asked you a number of questions regarding the

13        local vertical.     This deck is about Google's work in the local

14        vertical, correct?

15        A.   Well, it's about the external landscape around local more

16        than Google-specific work, and focused on the subset of local,

17        but --

18        Q.   How do you define the local vertical in Google?

19        A.   We would think about it as people who have information

20        needs around places or businesses in the real world, so that

21        could be things like parks or beaches.          It would also be

22        plumbers, which are not quite a place, but a business that

23        operates in the real world.        It's not about online businesses.

24        Q.   And that's different than general search, correct?

25        A.   I would say these are information needs that are of a
     Case 1:20-cv-03010-APM     Document 989   Filed 06/24/24   Page 70 of 137   8255


 1        particular focus.       People do come to general search for those

 2        information needs.       They also come to other places, like Google

 3        Maps for them.        But people will go to Google and search for

 4        pizza, not just go to a vertical.

 5        Q.   Local search is a subset of?

 6        A.   It's a subset of Google Search.

 7        Q.   And local search is primarily focused on Google Maps,

 8        correct?

 9        A.   No.    Local search equally has -- it has heavy efforts in

10        both providing it on Google Maps and on Google Search.

11        Depending on the country and the specific subpart, they may get

12        more traffic on Google Search or on Google Maps for local

13        queries.

14        Q.   If we could turn to a page your counsel showed you, page

15        38, which has a Bates stamp number of 299.             So DX62 at Bates

16        stamp 299.

17        A.   Um-hum.

18        Q.   I'm having trouble reading it.          I don't know if it's the

19        copy or if it's that I need new glasses after this long trial.

20                   The first bar -- well, the heading, let's start with the

21        heading.     In Their Own Words, Where Do Users Say They Go For

22        Local Search.

23                   Correct?

24        A.   Correct.

25        Q.   And on the left-hand side it says:           Google comes to mind
     Case 1:20-cv-03010-APM      Document 989   Filed 06/24/24   Page 71 of 137   8256


 1        most frequently.

 2                  Correct?

 3                  Sorry.      I'm in the light grey on the left-hand -- or --

 4        yes.

 5        A.     Yes.   Okay.

 6        Q.     Sorry.    Right-hand side.

 7        A.     When asked the question where do they go for local search,

 8        yes.

 9        Q.     Google comes to mind more frequently, correct?

10        A.     Um-hum.

11        Q.     And in the bar chart, the first number, I think, is around

12        80 percent.      I can't see a number.       Can you?

13        A.     I can't quite see, but it looks like it's around 80

14        percent.

15        Q.     All right.     So let's call it somewhere around 80 percent.

16        And that's Google, correct?

17        A.     That is Google, including Google Search and Google Maps, I

18        believe -- no.        Google Maps, sorry, is the third line.

19        Q.     Right.    That's what I want to ask.

20                  The third line is Google Maps, correct?            And so that's,

21        I think, somewhere in the teens, I think 16 or 18 percent?

22        A.     Yep.

23        Q.     And so combined, Google plus Google Maps would be close to

24        90-some-odd percent, correct?

25        A.     I don't think the numbers are exclusive.
     Case 1:20-cv-03010-APM   Document 989    Filed 06/24/24   Page 72 of 137       8257


 1        Q.   I guess that's my question:        Are they additive or is that a

 2        component of?

 3        A.   So, I don't -- it's an old deck, so I don't know for sure.

 4        But if you assume that the first one is on the order of 80 and

 5        then you look at the next two, I think they -- people can

 6        answer multiple ones.      So they might have used both Google and

 7        then clicked through to some other site.

 8        Q.   Okay.   Understood.    So Google's -- so Google, the top bar,

 9        is still around 80 percent, and Google Maps might be just a

10        subset of that, correct?

11        A.   I think people could have chosen multiple responses across

12        all, but I don't know for sure.

13        Q.   And so in the local vertical, Google is still -- has the

14        highest percent on this chart, on DX62, correct?

15        A.   In 2015, yes, for this question.

16                     THE COURT:    Sorry.   Counsel, is it possible to adjust

17        this exhibit in a way that we can actually read those numbers?

18                     MR. SMURZYNSKI:   I think we can find it.          I don't

19        know whether we can do it --

20                     THE COURT:    I'm not saying right now.

21                     MR. SMURZYNSKI:   Yes.

22                     THE COURT:    Whatever the native file is.

23                     MR. DAHLQUIST:    Thank you, Your Honor.        It might help

24        us all.

25        A.   To clarify, this is what people self-reported, so it's not
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 73 of 137       8258


 1        necessarily indicative of what their actual usage is.                But it's

 2        connected.

 3        BY MR. DAHLQUIST:

 4        Q.   Understood.       This whole study was self-reporting

 5        information, correct?

 6        A.   Yes.

 7        Q.   Would you agree that Google dominates the vertical at local

 8        search?

 9        A.   No.    I don't think you would think about it that way.

10        First of all, this is 2015, and think the landscape has

11        changed.     But, also, I think there's -- exactly how you ask the

12        question has a significant impact on how people answer the

13        question.     Right?    We gave restaurants, shops, parks as the

14        question.     We didn't ask about hotels.       We didn't ask about

15        plumbers.     And so it was specifically about discovering a place

16        in your local area, not about -- we didn't actually ask people,

17        Where do users say they go for local search?

18        Q.   Look at the next page, page 39, because your counsel asked

19        you questions about this.

20                   Yelp has the highest percent, of about 37 or 38 percent,

21        correct?

22        A.   Right.    So you can see that -- always the same title, Where

23        Do Users Say They Go For Local Search for both.            But, actually,

24        the question resulted in a very different answer.            Right?     This

25        was a question focused on app.       The other one asked app and
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 74 of 137   8259


 1        website.    And so you get different answers depending on how you

 2        ask the question.       And this one was focused on local

 3        restaurants versus the others.        So people use different tools

 4        for different questions, and --

 5        Q.   And here -- I'm sorry.

 6        A.   Go ahead.

 7        Q.   In here you state that Yelp dominates for restaurant with

 8        around 38 or 37 percent.

 9        A.   Well, that's what the UER person said.

10        Q.   But you don't agree that Google dominates with an

11        80 percent share in the overall local search in the prior

12        slide?

13        A.   I still wouldn't use the word "dominate" on this slide

14        either, if you ask my opinion.        I think people use many

15        different tools in practice.

16        Q.   If we could go to another document your counsel showed you,

17        DX241.

18                 This one is entitled Search Update From July 2021,

19        correct?

20        A.   Um-hum.

21        Q.   First of all, the document is marked Privileged and

22        Confidential.       Do you know if any lawyers were involved in

23        these meetings?

24        A.   Yes.   In general -- so, I can't promise this specific one,

25        but all of the board meetings I am familiar with typically have
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 75 of 137   8260


 1        legal.     Especially at the board meeting, we typically have our

 2        lead legal counsel.

 3        Q.     Do you recall privileged information being involved in this

 4        deck as it was presented in July of 2021?

 5        A.     I am not enough of a lawyer to answer which parts are

 6        privileged or not without looking in detail.

 7        Q.     The date on this is July 2021, correct?

 8        A.     Correct.

 9        Q.     Do you know when the United States filed its complaint in

10        this matter?      About October 20th, 2020.

11        A.     I don't know when it was.

12        Q.     So this deck was prepared after the United States

13        Department of Justice filed its lawsuit in this matter,

14        correct?

15        A.     Assuming your October 2020 is correct, then yes.

16        Q.     If we can go to a couple pages that your Counsel showed

17        you.    Let's start with page 10.       So, DX241, page 10, Bates

18        ending 455.       I believe your counsel asked you a number of

19        questions about the slide.

20                  Are you there?

21        A.     Um-hum.

22        Q.     What are the total number of users of Google platform on --

23        pick your metric -- on a daily basis?

24        A.     Over 1 billion.

25        Q.     Over a billion users.
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 1                Do you know what percentage of those users are Gen Z?

 2        A.   I don't off the top of my head.

 3        Q.   Let's -- might be helpful if we turn to -- there's another

 4        page in the deck, page 28, that your counsel didn't show you.

 5                    MR. DAHLQUIST:    And, Your Honor, page 28 was not

 6        reviewed for confidentiality.       I would ask permission to

 7        publish it publicly.     I don't think there's anything

 8        confidential on this.     So, it's DX241, page 28, Bates stamp

 9        ending 8473.

10                    MR. SMURZYNSKI:    Your Honor, no objection to

11        publishing that page.

12                    MR. DAHLQUIST:    Thank you.

13                    If we could put that up.

14        BY MR. DAHLQUIST:

15        Q.   Now, in the same deck, there's some definition of what

16        Gen Z is.    It says:   Gen Z is age 13- to 24-year-old.             Which I

17        think is what you said before, right?

18        A.   Um-hum.

19        Q.   Gen Z makes up approximately 20 percent of the global

20        population.

21                That's what it says?

22        A.   Yes.

23        Q.   Do you know what the U.S. population of Gen Z is?

24        A.   I don't off the top of my head.

25        Q.   And, again, you don't know how many of the Gen Z users make
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24    Page 77 of 137       8262


 1        up daily users on Google, correct?

 2        A.   I don't.

 3        Q.   It says:    Approximately 27 percent of all internet users

 4        today are Gen Z, correct?

 5        A.   27 percent of all internet users.

 6        Q.   And, again, you don't know what the U.S. numbers are, I

 7        assume?

 8        A.   I don't off the top of my head.        Sorry.

 9        Q.   The third bullet point says:       They have a spending power of

10        approximately 11 percent of global income today.

11                   Do you see that?

12        A.   I do.

13        Q.   Do you have any idea what the spending power of Gen Z users

14        are on Google today?

15        A.   No.

16        Q.   So, would you agree that the majority of Google users are

17        not Gen Z?     Correct?

18        A.   I would agree that the majority of users are not Gen Z.

19        But we study Gen Z because we think their behavior will

20        promulgate to older users in a short period of time.

21        Q.   That's a good segue.

22                   If we could go back to slide 10.         Slide 10, Bates stamp

23        ending 455.     If we could blow that up a little bit.           Great.

24        Thank you.

25                   So, first, let's start, the heading says:         Today Most
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 78 of 137     8263


 1        Inspiration and Discovery Happens Off Google.

 2                Do you see that heading?

 3                And "inspiration and discovery," those are the first two

 4        categories in this, I guess, loosely formulated funnel.              That's

 5        correct, right?

 6        A.   In this picture, yes.

 7        Q.   And then additional, Google appears lower in the funnel for

 8        items such as consideration and validation, correct?

 9        A.   In this picture, yes.

10        Q.   Now, the text in the bottom says:        Nearly 50 percent of

11        Gen Z say they use TikTok, Instagram for shopping compared to

12        just 15 percent of older users.

13                Correct?

14        A.   That's correct.

15        Q.   So of Gen Z users, only half of those use them for

16        shopping -- use TikTok and Instagram for shopping, correct?

17        A.   According to the study that was done, correct.

18        Q.   Did your study analyze if those same users still use Google

19        for non-shopping needs, other queries?

20        A.   This specific study was -- that they're referencing was on

21        shopping.    We have done other studies around Gen Z usage.

22        Q.   The majority of users -- the older users do not use TikTok

23        or Gen Z (sic).     I think it says just 15 percent do, right?

24        A.   That is correct.

25        Q.   This information was accurate as of the time that it was
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 79 of 137   8264


 1        presented to the board because you wanted it to be accurate,

 2        correct?

 3        A.   It was a reasonable recent study, correct.

 4        Q.   The second note says:     FB.

 5                Is that -- we mentioned Facebook?

 6        A.   Yes.

 7        Q.   And, Facebook, any inspiration mostly through ads.

 8                Do you know what -- I'm just trying to figure out what

 9        that means.

10        A.   Yeah, so what it meant is that the most common way folks

11        would be inspired to purchase an item or to decide they want to

12        get an item like that was if they were browsing through the

13        feed, and then product ads show very heavily in the feed.            So

14        even if your feed might have other interests, then you would

15        see a lot of ads for products.       And the ads are really highly

16        targeted to people, and so people often will decide that they

17        want to buy something based on an ad they saw.

18        Q.   That's inspiration, which shows at the top of the funnel

19        here on DX241, page 10, correct?

20        A.   That's correct.

21                    THE COURT:   Can I interrupt?

22                    The survey here said that 50 percent say they use

23        TikTok or Instagram for shopping.        What does that mean?

24                    THE WITNESS:    It means we -- likely, that we asked

25        them which apps do you use for shopping, and they listed these
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 80 of 137     8265


 1        ones.   They might define that, however -- so, people might

 2        define it differently.       So I might not think of using Instagram

 3        for shopping.       Even if I was inspired by something on

 4        Instagram, maybe that's something I think of.             It might mean

 5        that in their mind -- like, it really means, in their mind,

 6        Instagram was influential in deciding what they bought, right?

 7        And how they define influential or use of Instagram as a tool,

 8        people might give different answers.

 9                     THE COURT:    So it doesn't necessarily mean that

10        they're looking to buy something in the first place, they go

11        to -- half of them say, first place we go to is TikTok or

12        Instagram?

13                     THE WITNESS:    The question doesn't -- this question

14        didn't differentiate about how certain they were of whether

15        they wanted to buy shoes versus I wanted to buy this shoe

16        versus I wanted to buy -- you know, I'm just browsing and I saw

17        these shoes and I'm going to go decide to buy shoes.              The

18        more -- you get different answers when you go into more

19        specific, because that is more like the considered ones.

20        There, you might get people to say, I'm going to go to Amazon

21        to buy shoes directly, for instance.

22                     THE COURT:    Thank you.

23        BY MR. DAHLQUIST:

24        Q.   And just before we leave this topic, TikTok and Instagram,

25        they can't answer all user queries, correct?
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 81 of 137      8266


 1        A.     You can ask any query on that.       They will be better or

 2        worse at different queries, as will any product.

 3        Q.     All right.    I think we're done with that document.           Thank

 4        you.

 5                  In your testimony, you also talked about other

 6        competitors that you believe compete with Google.             Do you

 7        recall some of that testimony?

 8                  And I believe you stated that a goal of Google or its

 9        founders was to -- a user can come to Google to get the answer

10        to any question that a user may have.

11                  Correct?

12        A.     Correct.

13        Q.     And you agree with that goal, correct?

14        A.     I do agree with that goal.     I think it's a great goal.

15        Q.     And you identified several categories of potential

16        competitors with Google.       I just want to walk through some of

17        them.

18        A.     Sure.

19        Q.     First, you started with general search engines, such as

20        Bing and DuckDuckGo, correct?

21        A.     Correct.

22        Q.     Do you agree that those are search engines that can answer

23        any query that a user might have?

24        A.     I think they are aiming to answer any query, as is Google.

25        Whether or not they actually do is a different question.
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 82 of 137   8267


 1        Q.   And we just talked about some social media sites, like

 2        TikTok and Instagram.     Those are another category you

 3        identified, correct?

 4        A.   Yep.

 5        Q.   And social media sites, they cannot answer any query that a

 6        user may have, correct?

 7        A.   They are not as good at certain classes of queries, but

 8        they have definitely been expanding the type of information

 9        queries that they want to be able to answer over the years.

10        Q.   And an example -- I'm sorry.

11        A.   So, a lot more work on collecting very educational content,

12        a lot more work on collecting things like recipes, travel

13        information.    And so people will share stories or share videos.

14        Q.   And if I did a search for a local plumber -- I think you

15        used an example for a plumber.       If I did search for a local

16        plumber on Google versus Instagram and TikTok, the result I get

17        on Google is probably more reliable, correct?

18        A.   I think if you search on Google for a specific plumber,

19        then the specific information about the plumber is more

20        reliable.    If you search for plumbers in general on TikTok, you

21        would probably get people in your neighborhood talking about

22        the plumbers they used or a plumber promoting themselves, which

23        you would find more trustworthy in terms of a review

24        experience.    It depends on the user.

25        Q.   You said that Google's goal is to be the place where
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 83 of 137   8268


 1        everybody comes for reliable and accurate information, correct?

 2        A.   Correct.

 3        Q.   You also talked about vertical providers, such as Expedia

 4        or Yelp, correct?

 5        A.   Um-hum.

 6        Q.   Can Expedia or Yelp answer all queries?

 7        A.   They are not aiming to answer all queries.

 8        Q.   And you also talked about Apple as a competitor, correct?

 9        A.   Correct.

10        Q.   And I think you said that Apple competes with Google to the

11        extent that they do answer queries, correct?

12        A.   Right.

13        Q.   And Apple tries to answer some queries of users, correct?

14        A.   It does.    In both Safari and Spotlight.

15        Q.   I think you identified Amazon as a potential competitor.

16        Again, can Amazon answer all user queries?

17        A.   Amazon mostly focuses on particular verticals.

18        Q.   On commercial verticals, correct?

19        A.   Correct.

20        Q.   And I believe you talked about food as a category, DoorDash

21        and others.     Can food verticals, such as DoorDash, answer all

22        user queries?

23        A.   No.   They're not focused on that.

24        Q.   I would like to change gears and talk to you about Google's

25        advancements in AI, and specifically, SGE, or search generative
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 84 of 137     8269


 1        experiences.

 2                  Let's take a step back for a minute.

 3                  You're familiar with the product ChatGPT, correct?

 4        A.   I am.

 5        Q.   And ChatGPT was announced to the world around November

 6        2022?   Do you recall?

 7        A.   Yes.

 8        Q.   And ChatGPT is a AI product created by a company called

 9        OpenAI, correct?

10        A.   Correct.

11        Q.   And are you aware that Microsoft is the largest investor in

12        OpenAI?

13        A.   I am aware it's a huge investor.

14        Q.   Do you have an understanding that Microsoft has invested

15        billions of dollars into OpenAI?

16        A.   I do.

17        Q.   Now, Google announced its own AI product called Bard,

18        B-A-R-D, on February 6, 2023, correct?

19        A.   Correct.

20        Q.   I would like to show you --

21                     MR. DAHLQUIST:   Your Honor, permission to approach?

22                     THE WITNESS:   Thank you.

23        BY MR. DAHLQUIST:

24        Q.   If you could take a look in your binder to UPX2065.             And

25        these are organized sequentially, hopefully.           2065 is, like,
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 85 of 137    8270


 1        the second tab in your binder.

 2                  Let me know when you're there.

 3        A.   I am there.

 4        Q.   And UPX2065 is a copy of the announcement from Google on

 5        February 6, 2023 from Mr. Pichai, correct?

 6        A.   It was a blog post on the keyword, and it does look like it

 7        announced Bard.

 8                     MR. DAHLQUIST:    Your Honor, we move UPX2065 into

 9        evidence.

10                     MR. SMURZYNSKI:    No objection.

11                     THE COURT:    It will be admitted.

12        BY MR. DAHLQUIST:

13        Q.   And the title of UPX2065 is:        An Important Next Step on Our

14        AI Journey.

15                  Correct?

16        A.   Correct.

17        Q.   If we could go to, I think, the second page, page 2.             Bates

18        stamp is 424.       And I'm looking at the second paragraph, which

19        states:     We've been working on an experimental conversational

20        AI service powered by LaMDA that we are calling Bard.

21                  Do you see that statement?

22        A.   Yes.

23        Q.   Mr. Pichai described Bard as an experimental conversational

24        AI service, correct?

25        A.   Correct.
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 86 of 137   8271


 1        Q.   And the second sentence states:        And today we're taking

 2        another step forward by opening it up to trusted testers ahead

 3        of making it more widely available to the public in the coming

 4        weeks.

 5                 Do you see that statement?

 6        A.   I do.

 7        Q.   Now, when Bard was initially released, it was only open to

 8        trusted testers, correct?

 9        A.   Yes.    I mean, I would say it's more that it wasn't

10        released.    It was an early sort of trial with trusted testers

11        to get feedback before we opened it up.

12        Q.   It was an early version.      It wasn't publicly available yet?

13        A.   It was not publicly available, correct.

14        Q.   Mr. Pichai stated that it would become more widely

15        available to the public in the coming weeks.

16        A.   Correct.    I believe it launched in March.

17        Q.   I think Bard -- Google began a wait list for Bard around

18        March 2023 for other users to sign up, try and use Bard,

19        correct?

20        A.   I think that's correct.

21        Q.   Then it became more publicly available around May 2023; is

22        that correct?

23        A.   My belief is that in March, there was a wait list and

24        people were coming off.      And then in May, they stopped having

25        the wait list.
     Case 1:20-cv-03010-APM   Document 989    Filed 06/24/24   Page 87 of 137   8272


 1        Q.   Now, Google was in a hurry to announce Bard in February of

 2        2022, correct?

 3        A.   Bard wasn't really my area.        I was more focused on SG.

 4        Q.   Because the very next day, on February 7th, 2023, Microsoft

 5        made a public announcement for its AI product.             Do you recall

 6        that?

 7        A.   I do recall that.

 8        Q.   If we could look at UPX2069.

 9                 And this is the public announcement from Microsoft.           So

10        Google announced on February 6.         February 7th, Microsoft made

11        its announcement here:      Reinventing search with a new

12        AI-powered Microsoft Bing and Edge, your copilot for the web.

13                 Do you recall that?

14        A.   I do.

15        Q.   Now, Google's product was limited, available only to

16        trusted testers, but Microsoft's product was more widely

17        available on February 7th.         Do you recall?

18        A.   That is correct.

19        Q.   The following day, February 8, 2023, Google included Bard

20        as part of an already-scheduled session called Google Live in

21        Paris.   Do you recall that?

22        A.   I do.

23        Q.   You presented at Google --

24        A.   I was there, yes.

25        Q.   You were in Paris for the event, and I think you presented
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 88 of 137   8273


 1        a new update to Google Lens, which we heard about some today,

 2        correct?

 3        A.   Yes.

 4        Q.   Now, when did you first find out that Bard was going to be

 5        announced at the Google Live in Paris event on February 8th?

 6        A.   I don't recall exactly when I found out.

 7        Q.   Did you find out more than just the day before?

 8        A.   More than just the day before, yes.

 9        Q.   Do you recall how much earlier you found out?

10        A.   No.    I know it was more than the day before because we were

11        in discussions for a little while, but I don't remember

12        exactly.

13        Q.   And Dr. Raghavan was there, and he made the announcement

14        about Bard in the Live Paris event on February 8th, correct?

15        A.   Correct.

16        Q.   And there were a variety of other products that were

17        discussed, including Google Lens, correct?

18        A.   Lens.   Maps.

19        Q.   And I think Dr. Raghavan introduced Bard about halfway

20        through the 30-minute presentation or so.            Do you recall that?

21        A.   I don't recall the order.

22        Q.   He went after you.

23        A.   I believe he went after me, yes.

24        Q.   Now, Google's announcement of Bard did not go as planned,

25        correct?
     Case 1:20-cv-03010-APM    Document 989   Filed 06/24/24   Page 89 of 137    8274


 1        A.   There was certainly an error in one of the ones, if that's

 2        what you're referring to.

 3        Q.   If we could put up UPX2066.

 4                And 2066 is a press report from CNBC News, and I think

 5        the title is:       Google Employees Criticize CEO Sundar Pichai for

 6        Rushed, Botched Announcement of GPT Competitor Bard.

 7                Do you recall that?

 8        A.   I do.

 9        Q.   When Google first announced Bard in February of 2023, Bard

10        gave a wrong answer, correct?

11        A.   It is a very complicated -- it's a wrong answer.             It's a

12        very complicated answer for why it's a wrong answer, yes.

13        Q.   Sure.   Let's take a look at that.        I think the next page --

14        oops.   One second.

15                This might help explain.        If we can go to UPX2064.

16                UPX2064 is another press article, and the title is:                Off

17        To a Bard Start.

18                Do you see that?

19        A.   Um --

20        Q.   Sure.   We're at 2064 in your binder.

21        A.   I'm -- I have:      Bard's First Public Mistake.

22                     I'm sorry.    I can see it.

23        Q.   Yes.    It's the first one, yes.       Correct.    And the title is:

24        Bard's First Public Mistake Cost Google $100 billion.

25                Do you see that?
     Case 1:20-cv-03010-APM   Document 989    Filed 06/24/24   Page 90 of 137     8275


 1        A.   Um-hum.

 2        Q.   And the subtitle says:        An underwhelming launch event and

 3        an error in an ad put Google's chatbot on the back foot

 4        compared to Microsoft's ChatGPT.

 5                Do you see that?

 6        A.   I see that.

 7        Q.   If we go to the second page of this article, I think at

 8        418, I think this gives some more explanation of the answer --

 9        or, of the incorrect answer.

10                Top of the page, first full paragraph -- or, second full

11        paragraph says:     A Google ad shared on Twitter on February 6

12        touting its ChatGPT rival Bard showed the chatbot giving an

13        incorrect answer.

14                Do you see that?

15        A.   I do see that.

16        Q.   And in the first Bard experiment that was released

17        publicly, it gave a wrong answer to a scientific discovery that

18        Bard said had been invented recently, and it was actually from

19        around 2004, correct?

20        A.   I think it's -- so, what it says is:            It took the very

21        first pictures of an exoplanet.         It's true that it took the

22        very first pictures of a specific exoplanet.            It's not true

23        that it took the first pictures of any exoplanet.             But it is

24        true that it took the very first picture of a specific

25        exoplanet.
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 1                    It's a very subtle language difference that it had --

 2        but it is easily interpreted to be as if it was the first of

 3        any, and so that is the error.

 4        Q.   And an astronomer, I think, let Google know of the error,

 5        correct?

 6        A.   Correct.

 7        Q.   The fact that Bard's public answer included an error was

 8        embarrassing to Google, correct?

 9        A.   Yes.   We don't like to make mistakes.

10        Q.   Google was rushed to release Bard in response to

11        Microsoft's AI announcement, correct?

12        A.   I don't think you can make that conclusion.             Microsoft's

13        announcement also had several errors in it.            I think the

14        technology is very nascent.        It makes mistakes.        It's why we've

15        tried to be really thoughtful about putting it forward.               And to

16        understand that this is an error, we had a set of people look

17        at it, they did not find this question.             Right?   And so the

18        amount of effort to ensure that a paragraph is correct is

19        actually quite a lot of work.

20                    And my guess is, you know, typically with marketing,

21        we'll go through multiple versions.         What's a good query?       How

22        do you think about this one?       And so it was common throughout

23        for things to have errors, and then that's the nature of some

24        of this technology.

25        Q.   Google didn't have the time to properly fact check the
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 92 of 137    8277


 1        first answer before it went out publicly?

 2        A.   I think we didn't know how to fact check, in general, in

 3        the early days.     I don't think Microsoft did either.          They had

 4        a big presentation with multiple errors, as well.            I think more

 5        scrutiny was put on Google than on Microsoft in the early days.

 6        But the challenges with fact checking sufficiently are hard.

 7        We've had to get better at it.

 8        Q.   Google continues to watch what Microsoft is doing with its

 9        AI products, correct?

10        A.   We continue to watch what many of the competitors,

11        including Microsoft, do.

12        Q.   And Google continues to invest in AI products, including

13        Bard, correct?

14        A.   Yes.

15        Q.   I think we can take that down.

16                  Despite the launch of ChatGPT and Bing Chat, Google's

17        market share in the general search products hasn't changed.

18        Are you aware of that?

19        A.   I don't generally define the general search as a useful

20        market.     But, I don't think the balance between Microsoft and

21        Google has materially changed.

22        Q.   Before Bard was announced, Google's market share in general

23        search engine was around 90 percent, correct, and that hasn't

24        changed since the announcement of Bard?

25        A.   I don't pay attention to the search engine markets because
     Case 1:20-cv-03010-APM   Document 989   Filed 06/24/24   Page 93 of 137        8278


 1        I don't think it's a useful concept.

 2        Q.   Let's turn to something that -- a little more you talked

 3        about today.    I would like to talk about LLM models.

 4        A.   Sure.

 5        Q.   I forgot to ask you, my apologies, a question about -- if

 6        we could go back to a document that your counsel used.               My

 7        apologies.

 8        A.   Do you know which binder?

 9        Q.   Yes.    I'll get you there in one moment.        This is back on

10        DX241.

11        A.   Okay.

12        Q.   DX241, page 8.    I would like to ask you, the second

13        bullet -- and we'll get deeper into this with large language

14        models, but do you agree with the second bullet, which states

15        that:    Large language models like Mum are expensive to pretrain

16        and then fine tune for lots of applications.

17                 Do you agree with that?

18        A.   They are definitely expensive to retrain.

19        Q.   That's just a predicate to where we're going to go with

20        this.

21                 We can take that down.     Thank you.

22                 Talking about LLM models, now, for all of us

23        non-technicians here, to put it very simply, a large language

24        model, LLM, is a computer model that can be trained to read,

25        learn how words relate to one another, and then generate, or
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 1        predict, what words might come next, agreed?

 2        A.   Yes.

 3        Q.   Very simple definition, I'm sure.        There's a lot more to

 4        that, correct?

 5        A.   There's a lot more to it, yes.

 6        Q.   And this is where the term generative AI comes from,

 7        because a generative AI system tries to generate, or predict,

 8        the next words that would follow, correct?

 9        A.   Yes.   Or it could be images or other things.          But, yes.

10        Q.   Now, the LLM that powers Bard today I think is called PaLM,

11        correct, P-A-L-M?

12        A.   I think that is the name we've released externally.

13        Q.   And PaLM was current at the time that it was programmed,

14        around 2021, correct -- or trained, I guess, is a better word?

15        A.   So, we update models.     Like, even if we release PaLM, it

16        doesn't mean we've used the same version.           We like to continue

17        to build PaLM models.     I don't know the date of the last model

18        that Bard used.

19        Q.   And LLM models are infrequently trained because it takes a

20        long time to train them, correct?

21        A.   They are not trained super frequently.

22        Q.   Do you know when the next model that's running Bard is

23        scheduled to be trained?

24        A.   We have different models that were in -- in sequence, and

25        sometimes we're running multiple sizes of models.
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 1        Q.   But do you know when the next time period is when Bard is

 2        to be trained on a new model?

 3        A.   It's ongoing.    Like, it's -- we're in the middle of it now.

 4        Q.   So the LLM model that is running Bard today is being

 5        trained right now?

 6        A.   Sorry.    We are constantly building next generations of

 7        models, so there is one underway now.         There was one underway,

 8        you know, at different sizes and stages.            Bard isn't yet used,

 9        the one that's undergoing now, obviously, because it is in the

10        middle, but there is a model underway.

11        Q.   There's a new model underway, and some day that will become

12        the new model that runs the backdrop of Bard, correct?               But,

13        that's not installed today, correct?

14        A.   The new model that's being trained is not installed today.

15        But, the Bard has switched generations of models since it first

16        launched.

17        Q.   What's the approximate time gap between the model that's

18        running Bard today and when a new model might come in to run

19        Bard?

20        A.   The Bard team would be better qualified.           There's also

21        both, like, smaller deltas and larger.          I mean, did you

22        completely start over, or did you integrate partway through the

23        model?     So that will give you different answers.

24        Q.   Longer than a year, in your estimate?

25        A.   No.
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 1        Q.   Shorter than a year?

 2        A.   Yes.

 3        Q.   This is different from Search, which is:          Search is

 4        constantly refreshed and constantly trained on a daily, hourly,

 5        minutely basis, correct?

 6        A.   So, Search uses multiple models, and there's a difference

 7        between the pretraining of the model and refining the model.

 8        So, we're not shipping new models of Search daily.             Different

 9        models will be released in larger chunks, and then they can

10        still improve and serve more of a fine tuning, similar to Bard.

11        But, the smaller the model is the faster it can be retrained,

12        and Search uses different size models.

13        Q.   People in the industry have criticized the LLM models as

14        having the ability to be stale because it takes such a long

15        time and is so expensive to train them, correct?

16        A.   That's correct, people have made that criticism.

17        Q.   LLM models also require a large amount of computing power

18        to be trained, correct?

19        A.   To build a base foundation model, yes.

20        Q.   As a result, LLMs are expensive to operate and train,

21        correct?

22        A.   They're expensive to train.       How expensive they are to

23        operate depends on what is a smaller size model or bigger size

24        that you ship.

25        Q.   When Google first released Bard, it released it with a
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 1        one-week model version of an LLM, correct?

 2        A.   I believe so, but I'm not the Bard lead.

 3        Q.   Let's go back to a document we were looking at, UPX2065,

 4        which is Mr. Pichai's announcement from February.            I think if

 5        you go to page 3, at the top, page 425.

 6        A.   Yep.   They use the word "lightweight."

 7        Q.   Very top sentence states:      We're releasing it.

 8                 And "it" referenced Bard, correct?

 9        A.   Um-hum.

10        Q.   We're releasing Bard with our lightweight model version of

11        LaMDA.

12                 Correct?

13        A.   Correct.

14        Q.   He stated:     This much smaller model requires significantly

15        less computing power, enabling us to scale to more users,

16        allowing for more feedback.

17                 Correct?

18        A.   Yes.

19        Q.   And the LLM models improve with the more users that are

20        using the system, correct?

21        A.   More feedback will improve the quality of it.            I don't --

22        I'm not enough of an expert to be able to say this much

23        feedback results in this or how significant the feedback is to

24        the overall.

25        Q.   As Mr. Pichai says, Starting out Bard with a smaller,
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 1        lightweight version allowed Google to extend the product to

 2        more users initially, correct?

 3        A.   Um-hum.

 4        Q.   And the more feedback that Google receives from users, the

 5        better the product can become, agreed?

 6        A.   Yes.

 7        Q.   Let's stay on Bard for a minute.          I would like to talk a

 8        little bit more about what Bard is today.             I think we said Bard

 9        is an experiment -- strike that question.

10                  Well, let me use a document that will help us a little.

11                  If we can put up UPDX22.       And this is a demonstrative

12        that we pulled off of a Bard --

13        A.   UPXD?

14        Q.   I'm sorry.      Yes, UPXD.     And it's towards the back of your

15        binder, and it's 22.       Second-to-the-last document in your

16        binder.

17                  Now, at the very top left, it says:          Bard experiment.

18                  That denotes that Bard is, in fact, an experiment,

19        correct?

20        A.   Experimental product, yes.

21        Q.   And on the home screen, at the very bottom there's a

22        disclaimer.     It says:   Bard may display inaccurate or offensive

23        information.

24                  Correct?

25        A.   Correct.
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 1        Q.   In order to use Bard, a user must sign in, correct?

 2        A.   Correct.

 3        Q.   And a user also has to be over the age of 18 to use Bard,

 4        correct?

 5        A.   I believe that is still the case.

 6        Q.   And you require a sign-in so that Google can track queries

 7        in order to help Bard improve, correct?

 8        A.   So, I am not the Bard lead to answer all of the calls.

 9        But, one of the things I know is that these are -- people are

10        often doing complex tasks, and so they have an expectation that

11        they will be able to resume them.        And so your ability to go

12        and say, I started this question, I'm doing this complicated

13        task, and what I get back really relies on being signed in.

14        But, I don't know all of the choices about why they made it

15        signed-in.

16        Q.   Google will retain a user's Bard activity by default for 18

17        months, correct?

18        A.   I don't know the specific policy.

19        Q.   And a user can change the data storage time from between 3

20        to 36 months on Bard, I believe, correct?

21        A.   I don't know the Bard-specific policy.

22        Q.   And do you know if there's an option for a user to pick

23        zero months of no data retention?

24        A.   I don't know Bard policy.

25        Q.   If we can go to the next demonstrative, UPX23.
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 1               Now, LLM models, including Bard, are prone to

 2     hallucinations, correct?

 3     A.   Yes.

 4     Q.   And I think here on the slide, there's a disclaimer.                 Let

 5     me make sure I read it right.         Under the category is:           Is Bard

 6     able to explain how it works?

 7               Do you see that?

 8     A.   I do.

 9     Q.   It states that:      LLM experiences, Bard included, can

10     hallucinate and present inaccurate information as factual.

11               Do you agree with that?

12     A.   Yes.

13     Q.   It states:      One example is that Bard often misrepresents

14     how it works.

15               Correct?

16     A.   Yes.

17     Q.   Now, for a non-technician, what is a hallucination?

18     A.   So, hallucination, in this case, just refers to it makes

19     stuff up.    That's a simple one.

20     Q.   Let's go to a different document, UPX2070.            2070 in your

21     binder.

22               Now, when Bard was first announced, it also created lots

23     of questions inside of Google, as well, correct?

24     A.   Every topic inside causes lots of questions inside Google.

25     There's a lot of people.
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 1     Q.   I'm sure.

 2               UPX2070 is an article from CNBC from March 3rd, 2023,

 3     entitled:    Google execs tell employees in testy, all-hands

 4     meeting that Bard AI isn't just about search.

 5               Do you recall this?

 6     A.   Yes.

 7     Q.   Because you're quoted in here, I'm sure you recall it

 8     fondly.

 9     A.   Well, also, we've had this conversation several times.

10     Q.   Okay.    The press reported about a meeting at Google on or

11     about March 2nd.    Were you in attendance at that meeting?

12     A.   Yes.

13     Q.   I'd like to call your attention to the third bullet point

14     here.   It references an individual, Jack Krawczyk?

15     A.   Yes.

16     Q.   Mr. Krawczyk was the product lead for Bard when it was

17     announced to the public in 2023, correct?

18     A.   Correct.

19     Q.   Mr. Krawczyk is stating:     I want to be very clear.           Bard is

20     not search.

21               Do you see that?

22     A.   I do.

23     Q.   And do you agree that the press report accurately quotes

24     Mr. Krawczyk here?

25     A.   That I --
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 1     Q.     To the best of your recollection?

 2     A.     To the best of my recollection.

 3     Q.     You would agree that Bard is not the same as Google Search,

 4     correct?

 5     A.     I do very much agree with that.

 6     Q.     Let's go in one page -- I'm sorry, on the same page, at

 7     462.    Yes, 462.

 8               At the top of page 462, probably the second and third

 9     full paragraphs down -- second, third, and fourth full

10     paragraphs down.

11     A.     Okay.    There we go.

12     Q.     There we go.

13               So, first of all, this makes reference to a question and

14     answer session from Dory.        Is Dory an internal question and

15     answer program used at Google?

16     A.     Dory is a tool in which people can post questions that are

17     then -- and they can vote on them, that then you will use in a

18     meeting.       So, you might say, okay, what are the questions

19     people want to ask?        It allows the questions that are most

20     popular.       If there's going to be way more questions then we

21     have time, then people will pose a question, people are, like,

22     yes, and then they hear the answer to that question.                And then

23     we answer the questions in a Q&A session in the order of the

24     query.

25     Q.     Here, at the very bottom of this highlighted section where
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 1     Mr. Krawczyk responds:      I just want to be very clear, Bard is

 2     not Search.

 3             Correct?

 4     A.   Correct.

 5     Q.   And then you have some -- are quoted in some statements

 6     here as well.      I think a little bit down, the very bottom of

 7     page 462 and the top of 463.       We can pop those out.

 8             At the very bottom of 462, it states:           Elizabeth Reid,

 9     Vice President of Engineering for Search, echoed Krawczyk's

10     comments on Thursday, focusing on the company's extensive use

11     of large language models.

12             Do you see that?

13     A.   Yes.

14     Q.   And at the top of 463, it quotes you as saying:            As Jack

15     said, Bard is really separate from Search.

16             Do you see that statement?

17     A.   Um-hum.

18     Q.   Do you agree with that statement?

19     A.   I do.

20     Q.   It continues on, quote:       We do have a pretty long history

21     of bringing LLMs into search, she said, citing models named

22     Bert and Mum.

23             Do you see that statement?

24     A.   I do.

25     Q.   Do you agree with that statement?
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 1     A.   Um-hum.

 2     Q.   You continue on -- the article continues on:           But while the

 3     company experiments with LLMs, it wants to, quote, keep the

 4     heart of what search is, end quote, Reid said.

 5             Do you see that?

 6     A.   Um-hum.

 7     Q.   Do you agree with that statement?

 8     A.   I do.

 9     Q.   Now, you agree that LLMs have been part of Google for a

10     long time, correct?

11     A.   Correct.

12     Q.   And before Bard ever existed, Google had programs, such as

13     Bert and Mum, that helped to contribute to search, correct?

14     A.   Correct.

15     Q.   And Google has been integrating LLMs into its search for

16     many years, correct?

17     A.   Correct.

18     Q.   Even though Google's experimenting with new generative AI

19     tools, you believe that Google still wants to keep the heart of

20     what Search is; right?

21     A.   In Search, yes.

22     Q.   In Search.

23             Staying within this article, page 463, same page that

24     we're on, about halfway down there's a quote from Mr. Pichai

25     right above the heading, It's an Intense Time.
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 1               Do you see that?

 2               Mr. Pichai was quoted as stating:         Products like this --

 3               And "this" is a reference to Bard, to the best of your

 4     understanding?

 5     A.   I don't know without looking at the rest of the thing, but

 6     possibly.

 7     Q.   Mr. Pichai was quoted as stating:        Products like this get

 8     better the more the people who use them.           And he called it a

 9     virtuous cycle.

10               Do you recall that?

11     A.   I don't recall.    But, I have no reason to believe that's

12     incorrect.

13     Q.   But do you agree that AI products, like Bard, get better

14     the more people use them?       Correct?

15     A.   I do agree with that.

16     Q.   You have the same view with Search.           The more people use

17     them, the better it gets, correct?

18     A.   That's correct.

19     Q.   And Mr. Pichai used the term a "virtuous cycle."

20               Is that a phrase you've heard him use before?

21     A.   I don't know whether it's a phrase I've heard him use

22     before.

23     Q.   Do you agree with Mr. Pichai, that it's a virtuous cycle?

24     A.   I do think as people use them, that it improves, and then

25     people enjoy using them and use it more.
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 1     Q.   We're done with that document.

 2                MR. DAHLQUIST:     Your Honor, UPX2070 is a public press

 3     report, but we do ask for the admission of the public

 4     statements of Ms. Reid under 801(d)(2).

 5                MR. SMURZYNSKI:     Your Honor, I think we've had this

 6     discussion before.      My understanding of the Rules of Evidence,

 7     it's hearsay, even though it is a statement that appears on the

 8     news article.      But, that's our position, and, so, it's hearsay.

 9     To the extent he wants to use it to refresh her, ask her, Is

10     your recollection the same as that, that, obviously, is fine.

11     But, the news article itself should not come into evidence.

12                THE COURT:     I think he's used it in part or

13     primarily, truth be told, to just confirm statements that she

14     made publicly, and others made publicly at this same event.            So

15     the fact she's confirmed it on the record, and I don't know

16     that we need the actual article.        At least the rest of the

17     article won't be admitted for that purpose.            But for that

18     limited purpose, I'll consider it.

19                MR. SMURZYNSKI:     Understood.

20                MR. DAHLQUIST:     Thank you, Your Honor.

21     BY MR. DAHLQUIST:

22     Q.   Ms. Reid, I would now like to -- hang on one second.

23             Ms. Reid, I would like to now turn to SGE, the search

24     generative experience at Google.

25                THE COURT:     Sorry to interrupt.
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 1                 MR. DAHLQUIST:    Please.

 2                 THE COURT:   I hope I'm not treading into areas that

 3     are trade secrets.     When you talk about user feedback, you

 4     know, when it comes to an application like Bard, what are we

 5     talking about?     I mean, we've heard a lot about what that means

 6     in the context of search engine, including detecting people's

 7     signals on a SERP, et cetera.       What does that look like on

 8     Bard?    I put in a query, I get an answer, how is Google

 9     assessing the accuracy of the response?

10                 THE WITNESS:   Users can say thumbs up, thumbs down on

11     ones.    They can also give -- if they say thumbs down, they can

12     give more feedback about what they were unhappy with or what

13     they thought was wrong.      They may be able to flag that it was

14     offensive or something like that.        So, you will see that as the

15     primary form of feedback, is these thumbs-up, thumbs-down and

16     additional commentary.

17                 THE COURT:   Thank you.

18                 MR. DAHLQUIST:    Your Honor, I just looked at the

19     clock.   I'm beginning a next section that's probably 15

20     minutes.   I'm happy to push through and pause whenever you

21     want, or a lunch now.

22                 THE COURT:   I appreciate it.      And we'll take lunch

23     now.    We'll resume at 1:30.

24                 Ms. Reid, please do not discuss your testimony during

25     lunch.
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 1                THE WITNESS:    Understood.

 2                THE COURT:    And look forward to seeing you

 3     afterwards.

 4                (Proceedings recessed at 12:26.)

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 1                 CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3         I, JANICE DICKMAN, do hereby certify that the above and

 4     foregoing constitutes a true and accurate transcript of my

 5     stenographic notes and is a full, true and complete transcript

 6     of the proceedings to the best of my ability.

 7                           Dated this 1st day of November, 2023

 8

 9

10                                ________________________________

11                                Janice E. Dickman, CRR, CMR, CCR
                                  Official Court Reporter
12                                Room 6523
                                  333 Constitution Avenue, N.W.
13                                Washington, D.C. 20001

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